USDC IN/ND case 1:19-cv-00013-TLS-SLC document 1-1 filed 01/11/19 page 1 of 103


                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF INDIANA
                               FORT WAYNE DIVISION


 VINCENT J. COLOMBINI, BILLY McGUIRE,                      )
 MARTIN L. HEIFNER, ROBERT J. SWISHER,                     )
 DERRICK S. LINK, JOHN D. GROSS,                           )
 DEBORAH K. (FORTIER) ROGERS, MICHAEL                      )
 A. GARMAN, JERRY W. KITTLE, CARISA A.                     )
 SNYDER, DEBORAH K. SMITH, EPHRAIM N.                      )
 SHIELDS, and MARSHALL PHILLIPS, JR.,                      )
 individually and on behalf of all others                  )
 similarly situated,                                       )     Case No.: ________________
        Plaintiffs,                                        )
                                                           )
        v.                                                 )
                                                           )
 UNITED STATES OF AMERICA,                                 )
                                                           )
        Defendant.                                         )


                INDEX OF EXHIBITS TO PLAINTIFFS’ CLASS ACTION
                   COMPLAINT FOR DECLARATORY JUDGMENT


        Plaintiffs, by counsel, files this Index of Exhibits identifying the exhibits attached to

 Plaintiffs’ Class Action Complaint for Declaratory Judgment.

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               Plaintiff Vincent J. Colombini                                     5-6

 2             March 13, 2018 Institutional Disclosure of Adverse Event for
               Plaintiff Billy McGuire                                            7-8

 3             March 5, 2018 Institutional Disclosure of Adverse Event for
               Plaintiff Martin L. Heifner                                        9-10

 4             March 19, 2018 Institutional Disclosure of Adverse Event for
               Plaintiff Robert J. Swisher                                        11-12

 5             March 20, 2018 Institutional Disclosure of Adverse Event for




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 6          March 5, 2018 Institutional Disclosure of Adverse Event for
            Plaintiff John D. Gross                                           15-16

 7          March 20, 2018 Institutional Disclosure of Adverse Event for
            Plaintiff Deborah K. (Fortier) Rogers                             17-19

 8          March 14, 2018 Institutional Disclosure of Adverse Event for
            Plaintiff Michael A. Garman                                       20-22

 9          April 25, 2018 Institutional Disclosure of Adverse Event for
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            Plaintiff Carisa A. Snyder                                        27-28

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            Plaintiff Deborah K. Smith                                        29-32

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            Plaintiff Ephraim N. Shields                                      33-34

 13         April 16, 2018 Institutional Disclosure of Adverse Event for
            Plaintiff Marshall Phillips, Jr.                                  35-36

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 27         August 1, 2018 VA denial letter for Plaintiff Billy McGuire      89-90

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            Swisher                                                          92

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 31         September 27, 2018 VA denial letter for Plaintiff John D.
            Gross                                                            95-96

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 37         August 16, 2018 VA denial letter for Ephraim N. Shields          102

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                                     Respectfully submitted,


 “/s/” David L. Farnbauch            “/s/” Diana C. Bauer
 David L. Farnbauch (#11187-45)      Diana C. Bauer (#11906-64)
 SWEENEY LAW FIRM                    BAUER LEGAL LLC
 8019-B Lima Road                    429 E. Dupont Road #175
 Fort Wayne, IN 46818                Fort Wayne, IN 46825
 (260) 420-3137                      (260) 414-5582
 Email: dlf@sweeneylawfirm.com       Email: dianabauerlegal@gmail.com




 “/s/” Dennis R. Brown
 Dennis R. Brown (#20813-49)
 GEISLEMAN & BROWN, LLP
 919 S. Harrison St., Ste. 100
 Fort Wayne, IN 46802
 (260) 420-2001
 Email: dbrown@geislemanlaw.com




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------------------------------------------~-------------------------------------
**   WORK COPY - NOT FOR MEDICAL RECORD   **                         Progress Notes
--------------------------------------------------------------------------------
NOTE DATED: 03/05/2018 08:49
LOCAL TITLE: INSTITUTIONAL DISCLOSURE OF ADVERSE EVENT
STANDARD TITLE: COMMUNICATION,OF ADVERSE EVENT
VISIT: 03/05/2018 08:49 FTW A NOTE-X

INSTITUTIONAL DISCLOSURE OF ADVERSE EVENT

Date/T~me   pf Discussion: February 23,2018 @ 0830
Place of Discuss.ion (Reason for any delay in the disclosure):   Fort Wayne.
Conference room

Names and identity of those present:
 Vince Colombini- Veteran
 Dr. McBride- Chief of Staff
 Dr. Becker- Podiatrist
 Nicole Gust- HSS to COS


Discussion points of the adverse event:

Mr. Colombini complained of occasional swelling outside of the right ankle.
9/16/11 x-rays were completed of t):le foot and ankle that showed the foot had no
dislocations/no fractures, had small calcaneal spurs and had hammertoes. Ankle
x-ray were negative. He was diagnosed with accessory ossicle and referred to Dr.
Hammersley for surgery consult and seen on 3/16/12. The patient underwent      ·
surgery on 3/23/12 for resection of calcaneal spur of the lateral right
calcaneus wi~h reattachment and repair of peroneal retinaculum and excision of
peritendinous cartilaginous masses in the tendon sheath of the right foot.

The operative report suggests that Dr. Hammersley performed an excision of a
"lateral" spur from the patient's right calcaneus. However, the only way that a
lateral spur would be seen would be -0n an Os Calcis set of x-rays. This patient
only had foot and ankle radiologic views taken, which will superimpose the
calcaneus and will not show the ~ateral wall of the calcaneus. This patient did
not have any advanced imaging performed to confirm a lateral spur or ossicle.
The only spurring that is noted on the x-rays is superiorly and plantarly on the
right calcaneus. This spurring that is noted pre-operatively with no internal
changes. During surgery Dr. Hammersley took of tendon 'anchors' thinking they
were bone spurs. He tried to smooth bone and reattach tendon by screws. Dr.
Haffimersley· does not document if band wa·s reattached. Pathology report indicated
that the specimens were healthy bone and good tendons.

o       Lack of or inappropriate diagnostic testing and studies do not support
surgical diagnosis. There is no way to know that the patient had any accessory
ossicles, spurring, or boney hypertrophy from the studies provided or
documentation of physical exam.
o       There is no change on x-rays from pre-op to post-op with the exception
of the bone ·anchors.


Offer of assistance, including arrangements for a second opinion, additional
monitoring, expediting clinical consultations, bereavement support:

                     ** THIS NOTE CONTINUED ON NEXT PAGE **
WORK COPY ========== UNOFFICIAL - NOT FOR MEDICAL RECORD =========== DO NOT FILE
COLOMBINI,VINCE J                                          Printed:03/06/2018 09:22
                     VA NORTHERN INDIANA HEALTHCARE SYSTEM
                               Pt Loe: OUTPATIENT                 Ph:260 589 8522
=========================== CONFIDENTIAL INFORMATION ===========================

                                    Page 5 of 103                         EXHIBIT 1
 .
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 **   WORK COPY - NOT FOR MEDICAL RECORD   **                      Progress Notes

 03/05/2018 Q8:49       **   CONTINUED FROM PREVIOUS PAGE   **
 Veteran was offered evaluation and treatment in the podiatry service if
 indicated.


 Advisement of 1151 claims process and right to file administrative
 tort claim: Veteran was informed of his rights to file a 1151 disability
 claim and/or administrative Tort Claim. Financial Compensation after an injury
 brochure was provided to the Veteran as well as a blank disability claims
 application and SF-95 Tort Claims form.

 Continued communication regarding the adverse event:
 Veteran was given Jana Eakle's contact information to follow up with any
 additional questions he may have.

 Contact information for individual managing the disclosure:
 Jana Eakle
.260-426-5431 ext 71522


                    Signed by: /es/ JANA M EAKLE
                                    RISK MANAGER
                                    03/05/2018 08:50




WORK COPY ========== UNOFFICIAL - NOT FOR MEDICAL RECORD =========== DO NOT FILE
COLOMEINI,VINCE J                                          Printed:03/06/2018 09:22
                     VA NORTHERN INDIANA HEALTHCARE SYSTEM
                               Pt Loe: OUTPATIENT                  Ph:260 589 8522
=========================== CONFIDENTIAL INFORMATION ===========================


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Progress Notes                                                                                                Printed On Sep 28, 2018

           /es/ Hoily K Becker, DPM
           DPM
           Signed: 05/31/2018 10:29

            LOCAL TITLE: INSTITUTIONAL DISCLOSURE OF ADVERSE EVENT·
           STANDARD TITLE: COMMUNICATION OF ADVERSE EVENT.
           DATE OF NOTE: MAR 13, 2018@14:42     ENTRY DATE: MAR 13, 2018@14:43:01
                 AUTHOR: BAKLE,JANA M         EXP COSIGNER:
                URGENCY:                            STATUS: COMPLETED

           INSTITUTIONAL DISCLOSURE OF ADVERSE EVENT

           Date/Time of Discussion: March 7, 2018

           Place of Discussion (Reason for any delay in the disclosure):                                  Marion
           Conference room·

           Names and identity of those present:
            Billy McGuire- Veteran
            Dr. McBride- Chief of Staff
            Dr. Becker- Podiatrist
            N~col~ Gust- HSS to COS

           Discussion· points of the adverse event:

           Patient was initially encountered by Dr. Hammersley on 06/29/2012 where he
           was diagnosed with a chronic rupture of the peroneus brevis tendon left
           ankle, OM neuropathy, and difficulty walking. At this visit, conservative and
           surgical correction were discussed with patient. Patient returned to see Dr.
           Hammersley on 08/31/2012 and opted for surgical intervention. He was then
           scheduled for a peroneus brevis tendon repair. The patient was consented for
           Achilles Tendon Repair with Graft of the Left foot on 10/12/2012. The patient
           was taken to the OR on that same day (10/12/2012) and a Repair of peroneus
           brevis tendon with human dermal graft application, all left foot. Patient
           received uneventful post-operative care until 02/27/2013.

           The foot MRI report dated Ol/10/20f2 notes a thickening of the peroneal
           longus tendon at its attachment .to the medial cuneiform and base of the first
           metatarsal. The ankle MRI report dated
           01/10/2012 notes the peroneus longus and peroneus brevis are severely
           tendinopathy and very enlarged. The ankle MRI showed a· thickening of the
           peroneal longus and peroneal brevis tendons. Neither of the tendons had a
           tear. Upon, reviewing the images this surgery was not indicated. Also, the
           Consent for this surgery was incorrect. The patient was consented for an
           Achilles tendon repair with graft.

           *            Inaccurate diagnosis
           *            Treatment or procedure not'performed correctly.
           *            Use of inappropriate implants or hardware during surgery.
PATIENT NAME AND ADDRESS (Mechanical Imprinting, if available)   VISTA Electronic Medical Documentation
MCGUIRE, BILLY                                                   Printed at FORT WAYNE VA MEDICAL CENTER
907 VILLA TERRACE
KENDALLVILLE, INDIANA                 46755


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Progress Notes                                                                                            Printed On Sep 28, 2018
           *             Consent does not match the surgery performed.

           Offer of assistance, including arrangements for a second opinion, additional
           monitoring, expediting clinical consultations~ bereavement support:

          ·Mr. McGuire says that ankle is still very painful even while sitting. He was
           offered a thorough evaluation with podiatry and. is scheduled on 4-12-18.


           Advisement of 1151 claims process and right to file administrative
           tort claim:    The Veterans was informed of his Eights to file a 1151
           disability
           claim and/or administrative Tort Claim. Financial Compensation after an
           injury
           brochure was provided to the Veteran as well as a blank disability claims
           appli_cation and SF-95 Tort Claims form.

           Continued communication regarding the adverse event:
           The Veteran was given Jana Bakle's contact information to follow up with any
           additional questions he may have.

           Contact information for individual managing the disGlosure:
           Jana Bakle
           260-426-5431 ext 71522


           /es/ JANA M BAKLE
           RISK MANAGER
           Signed: 03/13/2018 14:43

            LOCAL TITLE: PODIATRY NOTE
           STANDARD TITLE: PODIATRY NOTE
           DATE OF NOTE: MAR 01, 2018@10:47                            ENTRY·DATE: MAR 01, 2018@10:47:51
                 AUTHOR: BECKER,HOLLY K                              EXP COSIGNER:
                URGENCY:                                                   STATUS: COMPLETED

           HPI: Patient is 69 y/o male PTC with his wife after Institutional Disclosure
           for continued left ankle pain. Patient had surgery of the left ankle in 2012 for
           a "ruptured peroneal tendon".   However, the patient now has continued pain and
           swelling with the ankl~. He has difficulty walking and states that the pain is
           aggravated with walking and standing) he has been given ankle braces to wear in
           the ·past, but he has difficulty tying them so he has not worn them.  He·
           describes the pain to his ankle as sharp and burning. STates that the ar~a is
           always swollen, and the swelling worsens with walking:

           PMH:
            29 Active Problems
              Peripheral Nerve Disease
              Obstructive Sleep Apnea (Adult)                        (Pediatric)
              Posttraumatic stress disorder
PATIENT NAME AND ADDRESS (Mechanical Imprinting, if available)   VISTA Electronic Medical Documentation
MCGUIRE, BILLY                                                   Printed at FORT WAYNE VA MEDICAL CENTER
907 VILLA TERRACE
KENDALLVILLE, INDIANA                 46755


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 ** WORK COPY - NOT FOR MEDICAL RECORD "**                           Progress Notes

 NOTE DATED: 03/05/2018 08:37
 LOCAL TITLE: INSTITUTIONAL DISCLOSURE OF ADVERSE EVENT
 STANDARD TITLE: COMMUNICATION OF ADVERSE EVENT
 VISIT: 03/05/2018 08:37 FTW A NOTE-X
 INSTITUTIONAL DISCLOSURE OF ADVERSE EVENT

 Date/Time of Discussion: February 22,2018 @ 2:30pm

 Place of Discussion (Reason for any delay in the disclosure):    Fort Wayne
 Conference room

 Names and identity of those pr-esent:
  Martin Heifner- Veteran
  Dr. McBride- Chief of Staff
  Dr, Becker- Podiatrist
  Nicole Gust- HSS to COS

 Discussion points of the adverse event:


 Mr. Heifner was referred to Dr. Hammersley from another podiatrist for severe
 pain in the left leg for about 15 days. MRI showed lesion and bruise of soleus
 leg muscle. Dr. Hammersley documents that the MR) showed well defined mass ·in
 medial head of the gastrocnemius and diagnosed the patient with ruptured muscled
·with neoplasm of uncertain behavior at medial head of gastric. The MRI does.not
 support this diagnosis. Dr. Hammersley ordered the Veteran to wear a boot. to
 allow the muscl"e to heal. About 2 months later, Dr. Hammersley planned to
 removed mass and repair of Achilles tendon with human dermal graft. Veteran was
 sent to a community hospital for the surgery to be performed by Dr. Hammersley
 on 6-17-14. The 6-17-14 surgery report documents that Dr. Hammersley focused on
 the medial gastrocnemius muscle and not the lateral soleus where the mass was
 located. The surgery report also indicates that Dr. Hammersley used Fiber wire
 in the muscle which is not the correct suture. Finally, the surgery report
 suggest that Dr. Hammersley never repaired the Achilles Tendon that he said was
 ruptured. The pathology from the mass that was removed showed fibroadipose
 tiss.ue and skeletal muscle with no specific diagnostic abnormality recognized.

He continued to have pain and was seen by Dr. Hammersley on 11-5-14 presenting
for a "new injury to late:i::al left posterior leg". ·An ultrasound was performed on
that date and the patient was diagnosed with a partial tear of the superficial
fascia of the left lateral gastrocnemius muscle. The patient was seen twice by
Dr. Hammersley.between 11/5/14 and the date of surgery 9/25/15 (10 ? months
later) . Patient as surge~y 9-25-15 for Left Achilles tendon repair with graft.
Dr. Hammersley operative narrative does not support Achilles Tendon Repair. He
also documents using the incorrect suture type for the procedure.

The timeframe of fixing the Acute Partia1 tear of the superficial fascia on the
left lateral gastrocnemius muscle was passed 21 days ·after the injury.

o         Lack of or inappropriate diagnostic testing.
o         Studies or imaging did not confirm surgical diagnosis or ·findings.


Offer of assistance, inciuding arrangements ·for a second opinion, additional
                        ** THIS NOTE CONTINUED ON NEXT PAGE **
WORK COPY ========,,;,= UNOFFICIAL - NOT FOR MEDICAL RECORD ========,,,.== DO NOT FILE
HEIFNER,MARTIN LUTHER                                       · Printed:03/09/2018 08:53
                        VA NORTHERN INDIANA HEALTHCARE SYSTEM
                                  Pt Loe: OUTPATIENT               Ph: (419)263-8023C.
=========================== CONFIDENTIAL INFORMATION ===========================


                                     Page 9 of 103                          EXHIBIT 3
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**   WORK COPY - NOT FOR MEDICAL RECORD   **                         Progress Notes

03/05/2018 08:37       **   CONTINUED FROM PREVIOUS PAGE    **
monitoring, expediting clinical ·consultations,_bereavement support:

Veteran was offered evaluation and treatment in the podiatry service if needed.
The Veteran reports that he has had no negative outcomes other than three numb
to~s that don't bother him.



Advisement of 1151 claims process and right to file administrative
tort claim: Veteran was informed of his rights to file a 1151 disability
claim and/or administrative Tort Claim. Financial Compensation after an injury
brochure was provided to the Veteran as well as a blank disability claims
application and SF-95 Tort Claims form.

Continued communication regarding the adverse event:
Veteran was given Jana Bakle's contact information to follow up with any
additional questions he may have.

Contact information for individual managing the        disclo~ure:
Jana Eakle
260-426-5431 ext 71522


                    Signed by: /es/ JANA M EAKLE
                                    RISK MANAGER
                                    03/05/2018 08:38




WORK COPY ========== UNOFFICIAL - NOT FOR MEDICAL RECORD =========== DO NOT ·FILE
HEIFNER,MARTIN LUTHER                           .          Printed:03/09/2018 08:53
                     VA NORTHERN INDIANA HEALTHCARE.SYSTEM
                               Pt Loe: OUTPATIENT               Ph: (419)263-8023C
=========================== CONFIDENTIAL INFORMATION ======7====================



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Progress -Notes                                                                                                 Printed On Mar 20, 2b18
             LOCAL TITLE: INSTITUTIONAL DISCLOSURE OF ADVERSE EVENT
            STANDARD TITLE: COMMUNICATION OF ADVERSE EVENT
            DATE OF NOTE: MAR 19, 2018@15:19     ENTRY DATE: MAR 19, 2018@15:19:29
                  AUTHOR: BAKLE,JANA M         EXP COSIGNER:
                 URGENCY:                            STATUS: COMPLETED


            INSTITUTIONAL DISCLOSURE OF ADVERSE EVENT

            Date/Time of Discussion: March 09,                       2018

            Place of Discussion (Reason for any delay in the disclosure) :                                  Fort Wayne
            Conference r·oom

            Names and identity of those present:
             Robert Swisher- Veteran
             Dr, Becker-Podiatrist ·
             Dr. McBride- Chief of Staff.
             Nicole Gust- HSS.to COS
             Jana Eakle- Risk Manager

            Discussion.points of the adverse event:

            8/10/15 Veteran was consulted to Dr. Hammersley of right drop foot with
            difficult walking and severe pain. X-rays and MRI performed. 8/17/15 Dr .
          . Hammersley diagnosed Veteran with radiculopathy .affecting lower· thoracic and
            lumbar. spine. Ankle instability, pain; anterior talofibular ligament,
            syndesmosis and Calcaneofibular ligament disruptions. peroneus brevis tendon
            rupture.

           MRI shows that Calcaneofibular and talofibular ligaments are intact. Thickening
           of the anterior talofibular ligament suggesting·sequela of remote injury. Split
           tea-r of the peroneal brevis tendon at the retromalleolar groove. :Distal ·
           reconstitution at the peroneal tuberosity. Bones: no· acute fracture or
           dislocation.

           11/9/15 Dr. Hammersley ·follows up with patient and documents that MRI shows
          -e~idence of unhealed fracture of posterior malleolus and lateral malleolus,
           rupture of peroneus brevis· and disruption of anterior talofibular ligament and
           syndesmostic ligaments. (MRI/X-ray only support the anterior taiofibular
           ligament injury) .

          1/8./16 Surgery was performed
          1. Repair of tibialis posterior tendon with graft material.- Not indicated, ·no
          evidence to support diagnosis.
          2.   Repair of the anterior talofibular. -Indicated
          3. Repair of the syhdesmosis. Using tightrope_de'vice.   Not indicated, no
          evidence to support diagnosis. The tightrope device that was used.was not
         ·positioned correctly.
          4. Excision of ol.d fracture fragment, posterior right fibula. - Not indicated.
PATiENT NAME AND ADDRESS (Mechanical Imprinting, if available)   VISTA Electronic Mecl.ical Documentation
SWISHER,ROBERT J                                                 Printed at MJl.RION VA MEDICAL CENTER
P.O.BOX 162
UNIONDALE, INDIANA               46791

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                                                                                                                                Page 1
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 Progress .Notes                                                                                          Printed On Mar 20, 2018

            * Krackow-type sut.uring technique is not correct procedure when repairing
            tendons.

            Veteran followed up with Dr .. Hammersley post-surgery with no post-operative
            occurrences. He did complain of decreased muscle strength and ankle instability.

            3/9/17 Veteran returned to -Podiatry for painfui ankle and ankle rolling. if he is
            not wearing boots. He was seen by another 'podiatrist and conservative therapy
            was initiated. Surgical options were discussed and decided to wait due to         .r
            Veterans school schedule.

            11/15/17 Veteran had surgery on right ankle due to thickened scar tissue to the
            anterior talofibular ligament region with adherence of the ATF ligament.to the
            fibular periosteum and impinging within the lateral gutter. After arthrotomy,
            there are no fibers of the ATF ligament seen.  Split tear of the peroneal brevis
            with FiberWire suture extending through the tendon sheath and into the adjacent
            soft tissues.

            *        Inaccurate Diagnosis
            *        Studies or images do Not confirm surgical diagnosis or findings.
            *        Treatment or procedure not performed correctly.
            *        Patient injury related to surgery causing patient to have a second
            surgery.                            .
            *.       Use of inappropriate implants or hardware during surgery.

           Offer of.assistance, including arrangements for a second opinion, additional
           monitorinq, expediting clinical consultations, bereavement support:

           Veteran continues to have difficulty_ walking without boots. His ankle swells
           daily. He is currently followed by Podiatry service.

            Advisement of 1151 claims process and right to file administrative
            tort claim:    The Veterans was informed of his rights to file a 1151 disability
            claim and/or administrati_ve Tort Claim. Financial Compensation after an injury
            brochure was provided to the Veteran as well as a blank disability claims
     .- ___ (!pplication and SF-95 Tort Claims form.

           Continued communication regarding the adverse·event:
           The Veteran was given_· Jana Eakle' s contact information to follow up with any
           additional questions he may hav~.·

           Contact information for individual managing the disclosure:
           Jana Eakle
           260-426-5431.ext 71522


           /es/ JANA M EAKLE
           RISK MANAGER
           Signed: 03/19/2018 15:20
PATIENT NAME AND ADDRESS (Mechanical Imprinting, if available)   VISTA Electronic Medical Documentation
 SWISHER,ROEERT J                                                 Printed at MARION VA MEDICAL CENTER
 P.O.EOX 162
.UNIONDALE, INDIANA              46791

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                                                                                                                          Page2
      USDC IN/ND case 1:19-cv-00013-TLS-SLC document 1-1 filed 01/11/19 page 13 of 103
Progress Notes                                                                                                 Printed On Mar 26, 2018
            LOCAL TITLE: INSTITUTIONAL DISCLOSURE OF ADVERSE EVENT
           STANDARD TITLE: COMMUNICATION OF ADVERSE EVENT
           DATE OF NOTE: MAR 20, 2018@09:36     ENTRY DATE: MAR 20, 2018@09:36:16
                 AUTHOR: BAKLE,JANA M         EXP COSIGNER:
                URGENCY:                            STATUS: COMPLETED

           INSTITUTIONAL DISCLOSURE OF ADVERSE EVENT

           Date/Time of Discussion: March 16, 2018

           Place of Discussion (Reason for any delay in the disclosure) :                                  Fort Wayne
           Conference room

           Names and identity of those present:
            Derrick Link- Veteran
            Whitney- Veteran's wife.
            Dr. McBride- Chief of Staff
            Dr. Becker- Podiatrist
            Nicole Gust- HSS to COS

           Discussion points of the adverse event:

           Patient presented to Dr. Hammersley on 02/05/2014 for left foot pain. Previous
           foot and ankle x-rays were performed. Dr. Hammersley noted tenderness of the
           anterior process of the calcaneus and interpreted the x-rays to show an
           elongated anterior process of calcaneus and early synostosis at navicular and
           calcaneus bilateral feet. Dr. Hammersley diagnosed the patient with
           Osteochondrosis at midtarsus bilateral and planned resection of coalition. The
           patient was consented for Tarsal Coalition Resection and on 04/25/2014 the
           patient was taken to the OR for Excision of hypertrophic bone with
           interpositional autograft of the left foot.   This was a different diagnosis than
           pre-operative assessment.  During the surgery, Dr. Hammersley dissected the
           muscle belly of the extensor digitorum brevis and used it as an autograft. This
           procedure was not performed correctly. The muscle was dissected losing it's
           blood flow. It should have been used as ·a flap. The dissected muscle was then
           packed into the space and not secured.

           Seven ,days· post-operation, Dr. Hammersley orders Veteran to begin weight
           bearing. The sutures were removed on post-operative day 12 and ordered to return
           to normal shoes. gear. On the 3rd post-oper.ative visit,· the wound was noted to be
           dehisced. Patient was given wound care instructions and prophylactic Cephalexin.
           The dehiscence was likely caused from the weight bearing and return to normal
           shoe gear too early.

           On the 5th post-operative visit the patient complained of swelling and pain. Dr.
           Hammersley diagnosed the patient with suspected rupture of joint adhesion. On
           the next post-op visit Dr. Hammersley interpreted the x-rays to show possible
           coalition at talocalcaneal articulation and ordered a CT scan of the left foot
           and ankle. The patient did not follow-up with Dr. Hammersley.

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LINK,DERRICK SHELTON                                              Printed at FORT WAYNE VA MEDICAL CENTER
1816 RICHFIELD DR
NEW HAVEN, INDIANA 46774



                                                                 Page 13 of 103                                  EXHIBIT 5
                                                                                                                               Page 1
       USDC IN/ND case 1:19-cv-00013-TLS-SLC document 1-1 filed 01/11/19 page 14 of 103
Progress Notes·                                                                                           Printed On Mar 26, 2018
           The gold standard for evaluating a suspected tarsal coalition is a CT Scan. Dr.
           Hammersley did not order a pre-operative CT Scan. He did not order the CT Scan
           until after the surgery when the. patient had continued pain. He did not order
           any advanced imaging or perform any diagnostic blocks. He did not try any
           conservative management with the patient.

           *       Inaccurate diagnosis
           *       Studies or imaging do not confirm surgical diagnosis or findings. There
           is·no indication that the patient needed surgery based on the pre-operative x-
           rays.
           *       Treatment or procedure not performed correctly.

           *       Veteran had additional surgery (Left STJ Arthrodesis) by Non-VA Care
           podiatrist to correct foot instability.




           Offer of assistance, including arrangements for a second opinion~ additional
           monitoring, expediting clinical consultations, bereavement support:

           Veteran was seen by Non-VA podiatry and had the correct surgery performed. He
           states that the hardware .sometimes gives him problems. He is followed by VA
           podiatry services currently.


           Advisement of 1151 claims process and right to file administrative
           tort claim:   The Veterans was informed of his rights to file a 1151 disability
           claim and/or administrative Tort Claim. Financial Compensation after an injury
           brochure was provided to the Veteran as well as a blank disability claims
           application and SF-95 Tort Claims form.

           Continued communication regarding the adverse event:
           The Veteran was given Jana Bakle's contact information to follow up with any
           additional questions he may have.


           /es/ JANA M EAKLE
           RISK MANAGER
           Signed: 03/20/2018 09:36




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            IN/ND case 1:19-cv-00013-TLS-SLC document 1-1 filed 01/11/19 page 15 of 103


       **   WORK COPY - NOT FOR MEDICAL RECORD   **                         Progress Notes

       NOTE DATED: 03/05/2018 08:36
       LOCAL TITLE: INSTITUTIONAL DISCLOSURE OF ADVERSE EVENT    .
       STANDARD TITLE: COMMUNICATION OF ADVERSE EVENT
       VISIT: 03/05/2018 08:36 FTW A NOTE-X

       INSTITUTIONAL DISCLOSURE OF ADVERSE EVENT

       Date/Time of Discussion: February 9,2018 @ 3:30pm

       Place of Discussion (Reason for any delay in the disclosure) :    Fort Wayne
       Conference room

       Names and identity of those present:
       . John Gross ? Veteran
         Sylvia Gross-Wife
         Dr. McBride- Chief of Staff
         Dr. Becker- Podiatrist
         Nicole Gust- HSS to COS
         Jana Eakle- Risk Manager

       Discussion points of the adverse event:

       Mr. Gross presented to ER 10/22/14 with right ankle pain and was diagnosed with
       a distal fibular fracture. Patient returned to ER on 10/27/14 for increased pain
       and swelling. A Venous U/S was performed and negative for DVT. Patient seen by
       Dr. Hammersley on 11-5-14, walking with fenestrating fait due to Parkinson's and
       diagnosed with a Right Ruptured Achilles tendon and apply an Epifix graft. The
       Veteran was taken to the operating room 11-19-14 to repair the Ruptured Achilles
       tendon and apply and EpiFix Graft. The tendon was noted to be diseased and
       degenerative and the Plantaris muscle was used to reinforce the Achilles tendon
       and the graft was then affixed. The fibular fracture was not addressed. The
       patient's wound dehisced by the 12/18/14 follow up appointment with Dr.
       Hammersley whjch progressed and worsened until the patient was eventually
       admitted on 12/31/14 for MSSA infection requiring IV antibiotics and dressing
       changes. An MRI was performed on 1/2/15 that showed multiple fibers of the
       Achilles still intact, marked thickening and increased extensive increased
       signal centrally, but with evidence small amount of gas extending from the
       overlying ulcer as well as a medial and lateral talar dome lesion, no fibular
       fractures were seen. The patient was discharged home on oral antibiotics on
       1/5/15~ On this day, 2 Epifix grafts were applied over the dehisced ulcer~. On
       1/15/15, the patient was still taking Doxycycline and 2 more Epifix grafts were
       applied to the dehisced wound. Again, on 1/22/15 and 2/19/15, Epifix grafts were
       applied to the dehisced wound. On 3/17/15, the patient was instructed that he
       was OK to walk and begin activities. On 4/2/15, he was seen in the ER again for
       pain, swelling, and redness to his right ankle. He was seen by another
       podiatrist that ordered him antibiotics and debrided loose skin from the
       Achilles incision.

       *        Lack of diagnostic testing to support Achilles Tendon Rupture.
       *        Dr. Hammersley did not do any further imaging studies to follow-up on
       the fibular fracture that was diagnosed in the ER.
       *        Surgical procedure was not appropriate based on clinical presentation,
       diagnostic images, and/or ancillary studies.
       o        Dr. Hammersley made note in the operative report that the Achilles
                             ** THIS NOTE CONTINUED ON NEXT PAGE **
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       GROSS, JOHN DOUGLAS                                         Printed: 03/09/2018 08: 02
                             VA NORTHERN INDIANA HEALTHCARE SYSTEM
                                       Pt Loe: OUTPATIENT                Ph: (260)485-2902
       =========================== CONFIDENTIAL INFORMATION ===========================

                                           Page 15 of 103                         EXHIBIT 6
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 03/05/2018 08:36            **   CONTINUED FROM PREVIOUS PAGE   **
  tendon was diseased and degenerated, but did not mention anything about a
· rupture of the tendon or any hematoma formation that occurs in the ruptured
  fibers of the Achilles tendon. There was no need to reinforce the Achilles with
  the Plantaris tendon.
  *       Dr. Hammersley removed the sutures too early and the wound dehisced. The
  wound became infected and.Dr. Hammersley did not prescribe any oral antibiotics.
  These were not prescribed until the Veteran went to the ER on 12/29/14 by tne ER
  provider.
  *       Once the patient was admitted for the MSSA infection of the Dehisced
  Achilles tendon and the MRI was performed and showed possible gas within the
  tissues, Dr. Hammersley did not take the patient back to .the OR for Irrigation
  and Drainage of the dehisced and infected wound.
  *       Dr. Hammersley applied two Epifix grafts to the dehisced ulcers on the
  day of the patient's discharge home from the admission of the wound infections.
  Biologic Allografts are contraindicated in the presence of infection. However,
  Dr. Hammersley continued to apply the grafts while the patient was continuing
  oral antibiotics.
  *       The patient continued to be in.pain for his right ankle and was seen in
  the ER on multiple occasions.
  *       The mechanism of ~ction for the Veteran's ankle pain at the acute onset
  could not be both for a fibular fracture and an Achilles tendon rupture. This
  was a pain that started gradually over two weeks and worsened. The Veteran could
  not recall any injury. The pain was never fully evaluated prior to the patient
  being taken to the OR. Given the operative report findings, it is more likely
  than not that the patient had either an Achilles tendinosis or simply Ankle
  arthralgia given the 2 talar domes lesions that were discovered on the MIR.

Offer of assistance, including arrangements for a second opinion, additional
monitoring, expediting clinical consultations, bereavement support:

Veteran was offered evaluation and treatment of his continued slight limp by the
podiatry service.

Advisement of 1151 claims process and right to file administrative
tort claim: Veteran was informed of his rights to file a 1151 disability
claim and/or administrative Tort Claim. Financial Compensation after an injury
brochure was provided to the Veteran as well as a blank disability claims
application and SF-95 Tort Claims form.                         ·

Continued communication·regarding the adverse event:
Veteran was given Jana Bakle's contact information to follow up with any
additional questions he may have.

Contact information for individual managing the disclosure:
Jana Bakle
260-426-5431 ext 71522


                          Signed by: /es/ JANA M BAKLE
                                          RISK MANAGER
                                          03/05/2018 08:36



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GROSS,JOHN DOUGLAS                                         Printed:03/09/2018 08:02
                     VA NORTHERN INDIANA HEALTHCARE SYSTEM
                               Pt Loe: OUTPATIENT                Ph: (260)485-2902
=========================== CONFIDENTIAL INFORMATION ===========================
                                   Page 16 of 103
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                                 Page 17 of 103                       EXHIBIT 7
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Progress Notes                                                                                                Printed On Mar 15, 2018
             'LOCAL TITLE: INSTITUTIONAL DISCLOSURE OF ADVERSE EVENT
            STANDARD TITLE: COMMUNICATION OF ADVERSE EVENT
            DATE OF NOTE: MAR 14, 2018@13:18      ENTRY DATE: MAR 14, 2018@13:18:42
                   AUTHOR: BAKLE,JANA M         EXP COSIGNER:
                  URGENCY:                            STATUS: COMPLETED

            INSTITUTIONAL DISCLOSURE OF ADVERSE EVENT

           Date/Time of Discussion: March 09, 2018

           Place of Discussion (Reason for any delay in the disclosure) :                                 Fort Wayne
           Conference room

           Names and identity of those present:
            Michael Garman- Veteran
            Michelle- Wife
            D~. McBride- Chief of Staff
            br. Becker- Podiatrist
            Nicole Gust- HSS to COS
            Jana Eakle- Risk Manager

           Discussion points of the adverse event:

           Veteran chief complaint was painful Left foot for 2 years. X-ray showed non-
           union left foot base of 5th metatarsal fracture; Surgeries was performed by Dr.
           Hammersley on 10/14/2011, 2/24/2012, 4/13/2012 and 6/12/2015.

           10/14/2011-0pen reduction, internal fixation, left fifth metatarsal base
           fracture Surgery is appropriate. Patient present with non-union 5th metatarsal
           base fracture, conservative treatments attempt, but without benefits. There are
           acceptable indications for surgery.

           2/24/2012-Surgery to remove K-wire due to irritation. Surgery was within
           standard of care.

           4/13/2012-Removal of hardware, removal of screw and transfer of peroneus brevis
          .tendon to the cuboid with anchor fixation; Left foot. The surgery was
           inappropriate. There were no indications for peroneal brevis tendon transfer.
           Dr. Hammersley also did not state .in pre-op notes the reason for peroneal brevis
           tendon transfer and there were no diagnostic studies to support surgery. The
           surgery report is indicating that the peroneal brevis transfer was to the
           cuboid. This is not a standard transfer location and not indicated. Two anchors
           were used for tendon transfer. The intra-operative x-rays indicates that one of
           the anchors was placed in the calcaneal cuboid joint space.

           4/17/2012- four days post-surgery, Veteran felt rubber band pulling feeling with
           snapping sensation burning/sharp pain. He was seen by Dr. Hammersley on
           4/20/2012 and ordered Veteran to remain non-weight bearing for 5 more weeks and
           to do range of motion exercises and follow-up in two weeks.

PATIENT NAME AND ADDRESS (Mechanical Imprinting, if available)   VISTA Electronic Medical Documentation
GARMAN,MICHAEL A                                                 Printed at MARION VA MEDICAL CENTER
4730 PLEASANT VALLEY DRIVE
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Progress Notes                                                                                            Printed On Mar 15, 2018
            5/18/2012- Veteran complained of more pain with frequent "electricity bolts"
            like pain through his left foot. With no podiatry follow-up and Veteran missed
            his 6/1/2012 appointment due to a family emergency.

            6/29/2012- Dr. Hammersley saw the Veteran and documented that the Veteran had
            less pain and electric sensations to anterior left ankle intermittently. Dr.
            Hammersley ordered Veteran home exercises.

           7/20/2012- Veteran had continued pain and Dr. Hammersley gave Veteran a
           peripheral nerve block without documented consent.

           08/31/2012~Veteran had continued pain and Dr. Hammersley gave Veteran a
           peripheral nerve block without documented consent.

           10/9/2012- X-rays·were performed that show osteopenia and the anchor is in the
           calcaneal cuboid joint that was not addressed.

           The Veteran states he complained of pain and electric bolt sensations to various
           providers and nobody would believe him.

           12/6/2013 Veteran saw Dr. Hammersley for painful 5th metatarsal· left foot. X-
           rays were completed that noted old fracture deformity is seen involving the
           fifth metatarsal base. He was ordered to wear pneumatic boot for 6 weeks.

           05/03/2014 Veteran was seen by Dr. Hammersley. He noted tenderness to palpation
           at 4th intermetarsal space with paresthesia to 4th and 5th digits anct' was
           diagnosed with neuroma of the 4th inter-metatarsal space. There was no.
           diagnostic testing to support this diagnosis.

           02/09/2015 Veteran was seen and complained of continued pain. Dr. Hammersley
           recognizes the anchor in the joint space and planned surgery to remove it.
           6/12/2015 Veteran has a fourth surgery to remove the bone an.char that holds the
           peroneal brevis that was positioned originally in the joint space.

           7/20/15 Veteran was seen in the emergen~y room because he felt a "snap" on the
           lateral aspect of his foot. Ambulation and movement increases the pain. This was
           likely a rupture of the peroneal brevis. 8/5/2015 he was seen by another
           podiatrist (Dr. Shiu) who did not do any further diagnostic testing. Veteran
           has not been followed by podiatry since.  He continues to have pain and cannot
           run at all. He can only walk for a short distance.

           *            Inaccurate Diagnosis
           *            Studies or imaging do not confirm surgical diagnosis
           *            Treatment or procedure not performed correctly.
           *            Use of inappropriate implants(s)· or hardware during surgery.
           *            Patient injury related to surgery
           *            Unnecessary procedure


           Offer of assistance, including arrangements for a second opinion, additiorial
PATIENT NAME AND ADDRESS (Mechanical Imprinting, if available)   VISTA Electronic Medical Documentation
GARMAN,MICHAEL A                                                 Printed at MARION VA MEDICAL CENTER
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Progress Notes                                                                                             Printed On Mar 15, 2018
           monitoring, expediting clinical consultations, bereavement support:

           Mr. Garman currently cannot run at all. He can only walk for a short distance
           due to his pain and loss of function. He was offered a thorough evaluation with
           podiatry and is scheduled on 4-16-18.

           Advisement of 1151 claims process and right to file administrative
           tort claim:   The Veterans was informed of his rights to file a 1151 disability
           claim and/or administrative Tort Claim. Financial Compensation after an injury
           brochure was provided to the Veteran as well as a blank disability claims
           application and SF-95 Tort Claims form.

           Continued communication regarding the adverse event:
           The Veteran was given Jana Eakle's contact information to follow up with any
           additional questions he may have.

           Contact information for individual managing the disclosure:
           Jana Eakle
           260-426-5431 ext 71522

           /es/ JANA M EAKLE
           RISK MANAGER
           Signed: 03/14/2018 13:12

           /es/ JANA M EAKLE
           RISK MANAGER
           Signed: 03/14/2018 13:20

            LOCAL TITLE: PODIATRY NOTE
           STANDARD TITLE: PODIATRY NOTE
           DATE OF NOTE: JUN 30, 2015@07:32                            ENTRY DATE: JUN 30, 2015@07:32:20
                 AUTHOR: HAMMERSLEY,ERADLEY                          EXP- COSIGNER:
                URGENCY:                                                    STATUS: COMPLETED

           s-pt rte 18 days sp removal of hardware left foot. pt states he has some
           residual tenderness but pain is much less than before the surgery. pt states
           he is finishing his oral antibiotic.
           o-nvsi, sutures intact lateral left foot. no signs of infection. no
           ecchymosis
           and decreasing edema appropriate for level of intervention.
           a-sp hardware removal left c-c joint. healing well
           p-performed e&m, removed sutures. follow up prn.
             P-MEDICATION RECONCILIATION REVIEW:
               Outpatient Medication Review
                  Current Medications
                  Active Outpatient Medications (including Supplies) :

                             Active Outpatient Medications                                                Status


PATIENT NAME AND ADDRESS (Mechanical Imprinting, if available)   VISTA Electronic Medical Documentation
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                                                              https://www.myhealth.va.gov/mhvapi/vl/bluebutton/external/stream/re.
  USDC IN/ND case 1:19-cv-00013-TLS-SLC document 1-1 filed 01/11/19 page 23 of 103
      3.     Diffuse muscle atrophy.

Recommendations:
There are no changes recommended in your current treatment.
  Comment: Keep podiatry appointment for discussion of plan of care.

If you have any questions regarding these results, please contact
Telephone Triage at 1-855-492-6985 or your local office.

Fort Wayne at 260-426-5431
Marion at 765-674-3321
Goshen CBOC at 574-534-6108
Muncie CBOC at 765-284-6822
Peru CBOC at 765-472-8907
St. Joseph County Clinic at 574-272-9000

Sincerely,

/es/ Holly K Becker, DPM
     DPM

Patient Record Number 139032




Date/Time:                  25 Apr 2018 @ 1359
Note Title:                 INSTITUTIONAL DISCLOSURE OF ADVERSE EVENT
Location:                   VA NORTHERN INDIANA HCS
Signed By:                  BAKLE,JANA M
Co-signed By:               BAKLE,JANA M
Date/Time Signed:           25 Apr 2018 @ 1400


 LOCAL TITLE: INSTITUTIONAL DISCLOSURE OF ADVERSE EVENT
STANDARD TITLE: COMMUNICATION OF ADVERSE EVENT
DATE OF NOTE: APR 25, 2018@13:59     ENTRY DATE: APR 25, 2018@13;59:19
      AUTHOR: BAKLE,JANA M         EXP COSIGNER:
     URGENCY:                            STATUS: COMPLETED

INSTITUTIONAL DISCLOSURE OF ADVERSE EVENT

Date/Time of Discussion: March 13, 2018

Place of Discussion (Reason for any delay in the disclosure) : Fort Wayne
Conference Room

Names and identity of those present:

Jerry Kittle- Veteran
Darlene Kittle- Veteran's husband
Dr. McBride- Chief of Staff
Nicole Gust- HSS to COS
Dr. Becker- Podiatrist
Jana Eakle-Risk Manager

Discussion points of the adverse event:

10/3/12 Veteran presented to his primary care RN for right ankle swelling due to

an injury he occurred two months prior. X-rays were taken that showed a 5th
tar.sal fracture. Veteran was referred to podiatry.

10/5/12 Veteran consulted with Dr. Hammersley. Dr. Hammersley diagnosed the
Veteran with a Jone's fracture, dispensed aircast, and planned for surgical
intervention. Weightbearing instructions was not documented. Veteran should have

been non-weightbearing.    (The 10/26/12 Surgery report states that the Veteran was

ambulating.)

10/26/12 Surgery #1.    Veteran was consented for open reduction internal fixation
                                                   Page 23 of 103                                       EXHIBIT 9

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of metatarsal fracture. Dr. Hammersley described the fracture as a Nonunion. Dr.

Hammersley dictated that the bony bridge had been resected because it had been
reformed. This was not indicated because the bone was already healing. The 2.7mm

X 22mm screw used were not long enough to purchase the fracture fragment. And
the most distal screw used was too long. The plate used was not original and has

been cut prior to insertion. The plate is cut through the 5th hole with no
documentation to explain why. Veteran was not placed in a cast or splint.

11/2/12 Veteran has been putting pressure on foot and complained of pain in
medial ankle. No x-rays were taken to determine if alignment has changed. He
continued to have

11/16/12 Veteran continues to have pain and sutures removed. He was instructed
to stay off right foot.

12/7/12 Veteran reports pain is improving since immobilization. Dr. Hammersley
reports a medial malleolar fracture on 12/7/12 x-ray that is not supported by
radiologist report. The x-ray shows that a screw is backing out and there is no
significant healing at the fracture site. Veteran was instructed to continue air

cast and remain non-weightbearing.

1/4/13 Veteran had foot x-rays that shows the screw is continuing to back out
and shows no significant interval callus formation. Dr. Hammersley documents
that the fracture is healing well and medial malleolar fracture is healing.
However, the foot x-rays don't support that finding and there are no ankle x-
rays. The Veteran was instructed to return to normal shoe gear. However, the
bones haven't healed and the Veteran should have continued non-weightbearing.

2/25/13 Veteran calls telephone triage and complains of pain when walking in the

right foot on the left side behind the great toe. Veteran was scheduled a follow

up appointment with Dr. Hammersley.

3/1/13 Veteran had foot x-rays and was seen by Dr. Hammersley. Dr. Hammersley
documents a shadow on the x-ray at the medial shoulder of talus suspicious of
ostechondritis and that the 5th metatarsal is healing. However, the medial
shoulder of the talas cannot be seen on the foot x-rays. Also, the x-rays do not

show that the fracture is healing and the screw continues to back out. Dr.
Hammersley ordered a CT scan.

3/11/13 CT scan shows that Veteran has mild arthritis at the tibiotalar joint
and talofibular joint and no evidence of osteochondrial lesion. There is no loss

of cartilage. However, Dr. Hammersley interrupts the CT scan to show extensive
degeneration and cyst formation of talar dome
right foot and plans to perform surgery at a Non-VA hospital.

4/17/13 Surgery #2. Veteran has surgery at St. Joseph Hospital with Dr.
Hammersley for resection of osteochondral lesion with bone grafting via medial
malleolar osteotomy and remove of hardware, fifth metatarsal, right foot. The
surgery reports that medial malleolus was removed to identify the talar dome
lesion. A graft is placed on the lesion and the medial malleolus is placed back
in position with screws. There is no rational documented to indicate removal of
hardware was necessary. Pt was not placed in a splint or cast to promote non-
weightbearing instructions or ordered crutches/wheelchair to assist with
ambulation.

5/3/13 Three weeks.post-surgery Veteran states he had been weightbearing despite

non-weightbearing instructions. Dr. Hammersley documents there is crepitus on
range of motion of right ankle and patient able to actively move ankle without
pain. Dr. Hammersley instructed the Veteran to begin weightbearing on right
foot. The reviewer states it is too early to move ankle and should not have been

done. As well as, it is too early to begin weightbearing activities.

5/31/13 Dr. Hammersley documents that the Veteran he has been weightbearing
despite his advice to stay off his foot. However, it is documented that to start

weightbearing at the last visit. X-rays were taken that show displacement of
medial malleolar osteotomy and motion around screws. The screws are not inserted

into the cortex and does not match up to the tibia. Reviewer stated this is a
result of weightbearing instructions that was given by Dr. Hammersley.
                                                 Page 24 of 103

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7/5/13 X-rays were taken that shows a bigger gap than the previous x-ray. Dr.
Hammersley plans surgery for Removal of hardware, open reduction and internal
fixation of osteotomy right medial malleolus.

8/9/13 Surgery #4. Surgery was performed. Dr. Hammersley removed the screws,
manually reduced the osteotomy site inserted two 4.0 fully threaded cancellous
screws. The reviewer stated that a plate would have been appropriate. The
Veteran was placed in a posterior plaster splint. Post-surgical x-ray shows a
medial malleolar step-off and the 5th metatarsal is still not healed.

8/21/13 Veteran presented with a dirty splint and stated he is weightbearing to
transfer. Dr. Hammersley discontinues the splint, orders aircast pneumatic boot
and orders Veteran to stay off his foot at all times. X-rays show that it is not

healing with the same size gap.

9/6/13 Dr. Hammersley documents that Veteran is healing well and no gross
displacement of the osteotomy. However, there is no x-rays at this visit. Dr.
Hammersley instructed Veteran to stay off his right foot for 2 weeks and then
resume weightbearing.
Weightbearing x-rays have not been ordered. The Veteran has displacement of the

fracture. Loss of fixation, delayed healing. And, the 5th metatarsal fracture
isn't healed. He will only be 6 weeks post-op and should not begin
weightbearing.

10/4/13 Dr. Hammersley documents that x-rays show failure of hardware with some
displacement of osteotomy with evidence of some periosteal reaction. The
reviewer states this was because he was instructed to be weightbearing too soon.

X-rays show a broken screw.   Dr. Hammersley instructed the Veteran to go back to

Non-weightbearing.

10/18/13 Veteran complains of tenderness and bending of ankle medially. Dr.
Hammersley plans surgery to reduce right ankle by using a plate.

11/22/13 Surgery #5. Veteran has surgery to remove hardware and open reduction
internal fixation of the medial malleolar osteotomy. The surgery dictation and
intra-operative x-rays suggest that the surgery procedures were not performed
correctly. The 7-hole plate was not contoured well around the medial malleolus.

There was no interfrag screw placed. The 4-0 x 60 mm sere
w should have been
placed fist sine it was used to close the osteotomy site. Also, there was
multiple "ghost" drill holes seen with no screw in the proximal hole. Veteran
was placed in a short leg cast.

12/6/13 2 weeks post-surgery follow up Dr. Hammersley continued non-
weightbearing instructions.

1/3/14 x-rays show no interval healing. Medial talus is lucent and with
significant degenerative changes. Radiologist reports the alignment is anatomic.

However, the images do not support that.
Cast was reapplied and Veteran was instructed to continue non-weightbearing.

2/5/14 x-rays identified a screw has broken. Veteran has placed in a pneumatic
boot and instructed to continue non-weightbearing.

3/5/14 Dr. Hammersley review the x-rays to show some medial displacement of
ankle joint with some interval healing. However, the x-rays do not support
interval healing. Veteran was ordered a bone stimulator and instructed to
continue non-weightbearing.

4/9/14 Dr. Hammersley referred Veteran to a Non-VA Care podiatrist for further
care.

5/1/14 Non-VA Podiatry notes in Vista Imaging identify medial displacement of
the meeial malleolar fracture fragment with a gap being approximately 4-5mm. No
evidence of healing across the fracture margin. He was diagnosed with a Non-
Union medial malleolar osteotomy site of the right ankle with a varus titling of

the talus in the ankle mortise with non-union of the osteotomy. The Non-VA
provider stated that no further reconstructive options are available "due to the

fact that the medial malleolus has had three operations on it and has had so
many screw holes in it already". Ankle Arthrodesis was recommended with removal
of the broken plate and as broken screws that can removed. Veteran had surgery
on 1/7/15.
                                                 Page 25 of 103

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                                                              https://www.myhealth.va.gov/mhvapi/vl/bluebutton/extemal/stream/re ..

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*       Treatment or procedures not performed correctly
*       Studies or imaging do Not confirm surgical diagnosis or findings.
        Lack of use of appropriate hardware and use of inappropriate hardware
during surgery.
        Inappropriate or incomplete post-operative follow-up.
        Patient injury related to surgery and post-operative instructions.
*       Lack of appropriate or incomplete medical record documentation.

Offer of assistance, including arrangements for a second.opinion, additional
monitoring, expediting clinical consultations, bereavement support:

Veteran continues to have pain daily and ankle instability. He was offered a
thorough evaluation from the podiatry service.

Advisement of 1151 claims process and right to file administrative
tort claim:   The Veterans was informed of his rights to file a 1151 disability
claim and/or administrative Tort Claim. Financial Compensation after an injury
brochure was provided to the Veteran as well as a blank disability claims
application and SF-95 Tort Claims form.

Continued communication regarding the adverse event:
The Veteran was given Jana Bakle's contact information to follow up with any
additional questions he may have.

Contact information for individual managing the disclosure:
Jana Bakle
260-426-5431 ext 71522


/es/ JANA M BAKLE
RISK MANAGER
Signed: 04/25/2018 14:00



Date/Time:                 25 Apr 2018 @ 0850
Note Title:                MRI PROCEDURE FORM
Location:                  VA NORTHERN INDIANA HCS
Signed By:                 MEITZLER,DAVID R
Co-signed By:              MEITZLER, DAVID R
Date/Time Signed:          25 Apr 2018 @ 0851


 LOCAL TITLE: MRI PROCEDURE FORM
STANDARD TITLE: SCANNED NOTE
DATE OF NOTE: APR 25, 2018@08:50       ENTRY DATE: APR 25, 2018@08:50:58
      AUTHOR: MEITZLER,DAVID R       EXP COSIGNER:
     URGENCY:                              STATUS: COMPLETED

MRI completed.

/es/ DAVID R MEITZLER
Radiology Technologist
Signed: 04/25/2018 08:51


=========================================================================
Date/Time:                 22 Feb 2018 @ 1511
Note Title:                Patient Aligned Care Team Practitioner Note
Location:                  VA NORTHERN INDIANA HCS
Signed By:                 ATLURI,VIJAYA L
Co-signed By:              ATLURI,VIJAYA L
Date/Time Signed:          22 Feb 2018 @ 1541


 LOCAL TITLE: Patient Aligned Care Team Practitioner Note
STANDARD TITLE: PRIMARY CARE ATTENDING NOTE
DATE OF NOTE: FEB 22, 2018@15:11     ENTRY DATE: FEB 22, 2018@15:11:05
      AUTHOR: ATLURI,VIJAYA L      EXP COSIGNER:
     URGENCY:                            STATUS: COMPLETED


CHIEF COMPLAINT AND HISTORY OF PRESENT ILLNESS:
veteran is here for reassessment of chronic medical conditions.
No new symptoms.
1. infected cyst R neck being treated by NON VA ENT, improving. MRI neck was
-recently done, possibly will need excission of cyst.
2. Being treaten for bilateral leg edema and stasis ulcer left leg by vein
clinic and wound clinic.

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                                 Page 27 of 103                      EXHIBIT 10
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                                 Page 29 of 103                      EXHIBIT 11
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                                 Page 31 of 103
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                                 Page 32 of 103
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                                 Page 33 of 103                      EXHIBIT 12
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                                 Page 35 of 103                      EXHIBIT 13
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                                 Page 36 of 103
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                      CLAIM FOR DAMAGE,                                                 INSTRUCTIONS:. Please read carefully the Instructions on Ute                            FORM APPROVED
                                                                                        reverse side and supply lnformauon requested on both sides of this                      OMBNO.
                       INJURY, OR DEATH                                                 form. Use .addlUonal sheet(s) If necessBJY. See reverse side for                        1105-0008
                                                                                        addlUonal lnsbuctlons. ·

       1. Submit To Appropriate Federal Agency:.                                                                      2. Name, Address of dalmant and dalmanrs personal represenlaHve, If
..                                                                                                                    any. (See Insbuctlons on reverse.) (Number, Street. City, .Stale and Zip
       VA Regional Council
                                                                                                                      Code) °{r n C.ev"\I J• Co l OllY\ bi() I                           .
       575 N. Pennsylvania
       lndlanapolls, IN. 46204                                                                                                   88J C!4-AL.e:-t              Pe        *'=- 2.03
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       3. TYPE OF EMPLOYMENT                     4. DATE OF BIRTH                     5. MARITAL STATUS              ·6. DATE AND DAY OF ACCIDENT                               7, TIME (AM. OR P.M.)
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       a.   Basis of Clalm (State In detail the known facts and cl~mstances attending the damage, Injury, or ~eath, identifying persons and property Involve<!, the
            place of occurrence and ~e cause thereof. Use add!Uonal pages If ~cessary.)         •                    . ·           .
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                                              ('"'O.,,,O""\.-f:-e..J'.)
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                                                                                                  PROPERTY DAMAGE
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                                                                 ...
      NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Streat, City, Slate, and Zip Code).
                                                                                                                                            '

      BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF DAMAGE AND THE LOCATION WHERE PROPERTY MAY BE INSPECTED.
      (See Instructions on reverse side..) · · ·




      10.                                                                               PERSONAL INJµRYIWRONGFUL DEATH                                                                   '
      STATE NATURE AND EXTENT OF EACH INJURY ORCAU.SE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE NAME OF
       INJUREDPE~SONORDECEDENT. C:o"' &"t"Pl.Y"l'r~ '"'(") I P..e:C\u....l r--e..s Ut.Se.... OF '::-An e i 'D\ FF1C.u..:.L-\-lfl.
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      11.                                                                                                 WITNESSES
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                                 . NAME                                                                              ADDRESS (Number, Streat; City, Slate, and Zip Code)




      12. (SeG lnstrucllons an reverse.)                                                    AMOUNT OF CLAIM (in dollars)                                                             :

      128. PROPERTY DAMAGE
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                                                 1211. PERSONAL INJURY                                      12c. WRONGFUL DEATH                        12d. TOTAL (FaBureto specify may cause
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                                                              00

      I CERTIFY THAT1HEAMOUNTOF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
      FULL SATISFACTION AND FIHAL SETILEMENTOF nus CLAIM


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                             V' CML .
                                          PENALTY FOR PRESENTING
                                          FRAUDULENT CLAIM
                                                                                    v                                            CRIMINAL PENALlY FOR PRESENllNG FRAUDULENT
                                                                                                                                      CLAIM OR ~NG FALSESTA1EMENTS
      Tlte da!mant is !tabla lo the United S!a!aa Gcwmmant for the civil panilfty of not lass than                   Fine cf not more lhan $10,0(!0 er Imprisonment for net mere than 5 yelllll er both.
      $5,000 and net more than $10,000, plus 3 times the amount cf damages sustained                                 (See 18 u.s.c. 287, 1001.)                           .
      by the Gowmmenl (See 31      u.s.c.   3729.)

     95-109                                                                                      NSN 7640-00.Q.4.4048                                         STANDARD FORM 95
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                                                                                                                                                              28CFR 14.2
                                                                                            Page 37 of 103                                                                   EXHIBIT 14
;
    ..   ~·;;;


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                  March 3, 2018




                  To the Veteran's Administration:




                  On October 12, 2012, I had ankle surgery at the Fort Wayne, Indiana, Veteran's Hospital to replace
                  tendons in my ankle. Dr Brad Hammersley, performed the surgery. After surgery, Dr.Hammersley,
                  indic~ted   he replaced the tendon and that I would be relieved of any swelling or pain I had previously
                  been experiencing.

                  After several months, I continued to have the pain and swelling and now 5+ years later I continue the
                  same symptoms.

                  Through discovery with the VA in Fort Wayne, Indiana, the medical team has determined that the
                  surgery was performed without indication and no supporting evidence making the tendon replacement
                  necessary, and that there had not been tendon replacement. The symptoms arid findings in October of
                  2012; could have been treated with physical therapy and resulted in complete recovery.

                  Indications found are, no tendon had been replaced and furthermore the procedure that Dr.
                  Hammersley performed caused more damage to my foot and ankle and now over the continued walking
                  and use of my foot/ankle in the past 5+ years, I continue to have problems and an additional surgical
                  procedure will be necessarv to correct the issue.

                  The Podiatry Team at the VA in Fort Wayne, Indiana has been very attentive and is currently ~esting
                  through x-ray, MRI and CT scan to move forw~rd with a solution.

                  At this time, I know that I will be submitting to additional surgery which will include more time in
                  recovery staying off my feet, inducing a lot of pain and inconvenience based on the negligence of Dr.
                  Hammersley.

                  Please consider my claim for $300,000, in compensation for the inconvenience, pain and suffering, .and
                  the risk of another surgery. I am a Type 2 diabetic who is insulin dependent and anytime surgery of the
                  limbs is involved there are concerns for infection and even the loss of limbs.



                  Thank You,



                  Billy McGuire, XXX-XX-XXXX



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        USDC IN/ND case 1:19-cv-00013-TLS-SLC document 1-1 filed 01/11/19 page 39 of 103

            CLAIM FOR DAMAGE,                                    INSTRUCTIONS: Please read cmefullythe ~ons on the                                        FORM APPROVED
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                                                                                                                                                          7.-TIME (A.M. ORP.M;)

· 8. Basia Of Cfafm (S1ata rn delall the known facta and dn:umsbmces a\bmdlng lhe damage, Injury, ordealh, tdenfifybJg persons and property Involved, the
     pl8c:e ofoccurrence and l!t8 Cll1IS8 thereof. Use addlUonal pages If~-)                        ·



            See A-l+Ached docLLfi\m+
  9.                                                                        PROPERTY DAMAGE
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  NAMEANDADDRESS OF OWNER, IF OllfERllfAN CLAIMANT (N



  BRIEFLYDESCRIBETHE PROPERlY. NATURE AND """"'"""·,tier.                              'LOCATION WHERE PROPERlYMAYBE INSPEC1ED.
  (See lnslnlclfans on 18V81SS side.)       -       -




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  INJURED PERSON OR DECEDENT. -                                                                                                                       ·




  11.
                            . NAME                                                             ADDRESS (Nlllllllef, Sfreet, City, StalD, ind Zip Code)




  12. (See lnafnlc:llons on revaiseJ                                    AMOUNT OFCLAIM (in dollma)

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 95-109                                                                                                                                   STANDARD FORM95
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                     USDC IN/ND case 1:19-cv-00013-TLS-SLC document 1-1 filed 01/11/19 page 40 of 103
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                                                                                            Page 40 of 103
                USDC IN/ND case 1:19-cv-00013-TLS-SLC document 1-1 filed 01/11/19 page 41 of 103


                 CLAIM FOR DAMAGE,                                   INSTRUCTIONS:. Pleaaa read cal8fullythe Instructions on the                                        FORM APPROVED            ..
                                                                     reverse side and supply lnformaucin requested on·bolh sides of lhla                                OMBNO.
                  INJURY, OR DEATH                                   form. Use JiddlUonal sheet(s) If necessmy. See reverse .side for                                   1105-0008
                                                                     addiUonal Instructions.·

  1. Submit To Appropriate Federal Agency:
  VA Regional Council
                                       ..                                                                                    J-
                                                                                                    2. Name, Md18sa of Clalmant and dalmanrs personal representative, If
                                                                                                    any. (See tnslrucllo!' re~e·t~umber, street, City, State and Zip
                                                                                                    Code) (Yl.ltf.. "f',    • e,       f!!IL 1>"£.
  575 N. Pennsylvania                                                                                  1 5()'1 cv./-'(             ~l
  lndl~polls, IN. 46~04                                                                             #BJ-<SVJ>A-. .1'-~                       ·4 $8" f


 · 3. lYPE OF EMPLOYMENT                     4. DATE OF BIRTH        5. MARITAL STATUS              6. DATE AND DAY OF ACCIDENT                        -                 7, TIME (A.M. OR P.M.)
     D MILITARY a CMLIAN                    !J/-ID-     J.18         JJtaUJ~                         ? 7-V/3-~Pl-ZO/G


    ~ fM; A/~~                                  ~ "!7- db
                                                                                                    -a
  8. Basia of Claim (Slate In detail the known facls and dn:umstances attending Iha d~age,. lnJiiry, or death, Identifying persons and property Involved, the
                                                                                                            f
     place of occurrence and l!Je caU§l._lf!ereof. Use add!Uooal pagealf Qecessary~:,1"P>t Kc:if e i; d. 1 '.~ cf /f/.(c../:s '7"<:> µal ._"'
        J.41-f -1/. ,tl&f".:>,.._ ~              4"" '1"~. ?'.                                                        w..d..                 , /"'- C
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 .fav~~~ ~\l{ o.+/at,1keJ Sm1~6.~IT· ;::;:-,J S4 Y'P&L< l Of C.lA';'.(M.
  9.                                                                               PROPER'IYDAMAGE
                                         -
  NAME AND ADDRESS OF. OWNER, IF OTHER THAN ClAIMANT (Number, Sln!et, City, Stale, and Zip Code),



 . BRIEFLY DESCRIBE THE PROPERlY, NATURE AND EXTENT OF DAMAGE AND THE LOCATION WHERE PROPERlY MAYBE INSPECTED.
   (See lnstnlctlona on l8VllfS8 side.) .· ·                                   . .            .




  10.                                                                 PERSONAL INJURYJWRONGFUL DEATH                                                                                     '
  STATE NATURE AND EXTENT OF EACH INJURY OR-CAU.SE OF DEATH, WHICH FORMS THE BASIS OF THE C~M. IF OTHER THAN CLAIMANT, STATE NAME OF
  INJURED PERSON OR DECEDENT.

                                                                                                         Dt     ~:17'\.                                            .
            .S~~·   A11A(H6D -STAT6M. (;~T 'IN rL\PfbKI

  11.                                                                                wnNESSES
                            . NAME                              -                                   ADDRESS (Nµmber, Street, City, Slate, and Zip Code)




  12. (See lns1ructlans on rew1118.)                                       AMOUNT OF CLAIM (In dolla111)                                                                             :       l


 128. PROPERlY DAMAGE                       12b. PERSONAi. INJURYJ-c. ~f                 ·12c, WRONGFUL DEATH                        12d. TOTAL(FaBurefDspeciry maycall88
                                                                                                                                             , flllfn!ftltD 1tf ....,,• ....,....... )
                                            ~~ 1   ""f dl~rr                                                                          ..; .5t?t?· at?
       ..                                                                      '
 ICERTIFYTHAT1HEAMOUNTOFCLAIMCOVERSONLYDAMAGESANDINJURIE8CAU8EDBYTHE.IHCIDENTABOVEANDAGREE10ACCEP1'SAIDAMOUNTIN
 FULL 9AT18FAC1fONAND FINAi.: 8~0J:1HISCLAIM
                                                                                               ..
 13a. SIGNATURE OF CLAIMANT (See lns1rudlons on 11M1nie l!lde.)                                     13b. Phone ·number of penson Blgnlng fonn                           14. DATE OF SIGNATURE
  ./f'h~72::.. ~ . ~                         . ..ti                 .                               </IP· ;i~ 3 ~ A/'J 7              >::<                              3:1~-~l/J
            (
                            c    L PENALTY FOR PRESENTING                                                       CRIMINAL PENALTY FOR PRESEN11NG FRAUDULENT
                                   FRAUDULENT CLAIM                                                                  CLAIM ORMAKING FAUIESTAlEMENTS

 lbe c:lalmant la Hable ID lhe Uni!ed Slafss Govamment for the clvD penally Of not iBSS than        Fina of not more than $10,0l!O or lmpliaonmentfor not mom than 5 YB11111 or both.
 $.5.000 and not lllGl8 than $10,000, plus 3 times lhe amount of damages 11usmlnad                  (See 18 U.S.C. 2fII, 1001.)
 by Uta Govemmenl (Saa 31 U.S.C. 3729.)

95-109                                                                         HSN 7640-00-63M048                                               STANDARD FORM 95
                                                                                                                                                PRESCRIBED BY DEPT. OF JUSTICE
                                                                                   Page 41 of 103                                               28.CFR 14.2    EXHIBIT 16
         USDC IN/ND case 1:19-cv-00013-TLS-SLC document 1-1 filed 01/11/19 page 42 of 103
            CLAIM FOR DAMAGE,                                      INSTRUCTIONS:· Please read carefully the Instructions on the                    FORM APPROVED
                                                                   reverse side and supply Information requested on bo!ll sides of this            OMBNO.
             INJURY, OR DEATH                                      form. Use .addltlonal sheet{s) If necessary. See reverse side for .             1105-0008
                                                                   additional Instructions.

                                           ency:                                              2. Name, Address of claimant and clalmanrs personal representative, ff
                                                                                              any. (See instructlons on reverse.) (Number, Street, City, State and Zlp
                                                                                              Codel ' '-v ~e,...            2.u .b
                                                                                                                                 e-( T ::T
                                                                                              ?o ~O)C              J~J.
                                                                                              C>'(ij~O ru&trie -~ tU                              If 6 7 '7 /
                                                                                              6. DATE AND DAY OF ACCIDENT                          7. TIME (A.M. OR P.M.) .


 8. Basis of Claim (State In detail the known facts and clrctJinstances attending the damage, Injury, or death, Identifying persons and property Involved, the
    place of occurrence and the cause thereof. UseaddlUonal pages If necessary.)              r
                                                                                          q,~ fi /i t t</ Q.,mecl./6~/ 11),0..lPf",4.ChC,e .
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             °Il'\~C.U.l"o..ie Dio..gl'\osl S '2.\ SW.1esor 1P\CfjfSdo tic~ c.on~\11\ $'£.\.rgi<!l.tl d1Q<;iV\OS1S(l('hn!lN_\S
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 0 ) T~cthY\C.l\t-  oc e>rote.~u.f'e nor ~-{Ormed. cot'fecl-ty., L\) H:tl·1eitl-/ '<\j'-'-'9 re.\ct\'ecl ·-\o su.r3e<y oo.us~'\'.J
  pcth ~+ -to \\C\Ve.. ct.Sec:ord. sw--gery., 5~ \Lse ~ in~p ropnafe. 1m.p\cml.s .erf\Q,.rduJate fltig_
  5 u.f'~ ef'j.,
 9.                                                                            PROPERTY DAMAGE

 NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Street, City, State, end Zip Code).



 BRIEFLY DESCRIBE THE PROPERTY, NATURE AND              EXTENT OF DAMAGE AND THE LOCATION "WHERE PROPERTY MAY BE INSPECTED.
 (See lnstniclfons on reverse side.)




 .10.                                                               PERSqNAL INJURY/WRONGFUL DEATH

 STATE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE NAME QF
 INJURED PERSON OR DECEDENJ.
 Se -c      Pi-\1- ~ e::::X            f'-fo te ~.) 'j) rD S-t\ S ~               f\..J o f- ~




 11.                                                                                  WITNESSES

                             NAME                                                             ADDRESS (Number, Street, City, Statu, SJJd Zip Code)




 12. (See Instructions an reverse.)                                      AMOUNT OF CLAIM On da!lars)

 12a. PROPERTY DAMAGE                  12b. PERSONAL INJURY                             12c. WRONGFUL DEATH                    12d. TOTAL (FeBure to specify may cause
                                                                                                                                    forfellure of your rights.)

                                       /J 3CJ::> o a o                                                                               :J.
 I CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BYTliE INCIDENT ABOVE AND AGREE TO ACCEPT SAiD AMOUNT IN
 FULL SATISFACTION AND FINAL SETTl.EMEHT OF nus CLAIM

                                                                                              13b. Phone number of person signing form             14. DATE OF SIGNATURE

                                                                                                                                ~S/..S-
                                                                                                          CRIMINAL PENALTY FOR PRESENllNG FRAUDULENT
                                                                                                                 CLAIM OR MAKING FALSE STATEMENTS

                                                                                 less than
 The clelmant ls Hable to the United Sta!aa Government for the clvfl penalty of not           Fine of not more than $10,000 or imprisonment for not more than 5 years or botti.
 $5,000 and not more than $10,000, plus 3 times the amount of damages sustained               (See 18 U.S.C. 287, 1001.)
 by the Govammenl (See 31 U.S.C. 3729.)

95-109                                                                        NSN 7640-00-634-4048                                    STANDARD FORM 95
                                                                                                                                      PRESCRIBED BY DEPT. OF JUSTICE
                                                                                                                                      28 CFR 14.2
                                                                             Page 42 of 103                                                            EXHIBIT 17
    USDC IN/ND case 1:19-cv-00013-TLS-SLC document 1-1 filed 01/11/19 page 43 of 103
                                                                                   INSURANCE COVERAGE
                                                                                                          .
 In order that subrogation dalms ri1ay be adjudicated, it Is essential that the dalmant provide the following lnformatio·n regarding the fnsurence aMHBge of his vehlde or property.

 15. Co you carry accident Insurance? a Yes        If yas, give name and addl'l[ISS of Insurance company (Number,      Stree~ City, State, and Zlp Code) and policy number.          ~No




 18. Have you filed a dalm on your Insurance carrier In this Instance, and if so, ls It full coverage or deductible?    DYes
                                                                                                                                      ~o          17. If deductible, 81atD amount




 18•.If a dalm has been filed with your earner, what ectlon has your Insurer taken or proposed to take with reference to your clalm? (It Is necessary that you ascertain these facts.)




 19. Do you cany publ!c llabllity and property damage Insurance? . o Yes       ff yes, glw name and addJ'BS8 of Insurance earner (Number, Stree~ City, State, and Zip Code).          ~No




                                                                                       INSTRUCltONS.

 Claims pfesented under the Federal Tort Clalrris Act should be submitted directly to the "appropriate Fe~eral agencyn whose
 employee{s)was Involved In the Incident. ff the lncldentlnvolves more than one claimant, each claimant should submit a separate claim
 fonn.                                                                                .                      .

                                                         Comp let& all Items - Insert the word NONE where appllcable.

A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERA(                                   DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL
AGENCY RECEIVES FROM A CLAIMANT, HIS DULY AUTHORIZED AGENT, OR LEGAL                            INJURY, OR DEATH ALLEGEQ TO HAVE OCCURRED BY REASON OF THE INCIDENT.
REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN                                   THE Cl.A!M MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCYWlTHIN
NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAJM FOR MONEY                                   TWO YEARS AFTER THE CLAJM ACCRUES.
Failure to completely execute Ulla fonn or to supply the requestad matarfal within              The amount daimed should be StJb8tantialed by competent evidence as fc!Jows:
two years from the data the claim accrued may render your claim lnvafld. A clalm la
deemed presented when It la received by the appropriate agency, not when It Is                    (a) In support of the dalm for personal Injury or death, the dalmant should submit a wri!!an
malled.                                                                                         report by the allllnding physician, showing the nature and extent of Injury, the nature and
                                                                                                extent of treatmen~ the degree of permanent disability, if any, the prognosis, and the period
                                                                                                of hospitallution, or lncapadfatlon, attaching ita"mized bUls for medical, hospital, or bur!al
If lnstrud!on ls needed In completing Ihle fO!m, the agency fisted In Item #1 on the reverse    expenses actually Incurred.
side may be contacled. Complete regulallona pertaining to dalms asserted under Iha
Federal Tort Clalms Act can be found In Td!a 28, Code of Federal Regulat!ons, Part 14.
Many agencies have publ!shed supplementing regulations. If more than one agency Is.               (b) In support of daJms for damage to property, wtilch has been or can be economlcaDy
Involved, please state each agency.                                                             repaired, the daJmantshould submit atleast two Itemized signed statements or estimates by
                                                                                                reliable, disinterested concerns, cr, if payment has been made, Iha itemized signed receipts
                            0
                                                                                                evidencing payment                                                        ·
The dalm may be filed by a duly authorized agent or other legal representative, provided
evidence sal!sfadgry to the Government ls submitted Willi the clalm establishing express
authority to eel for the dalmanl A da/m presented by an agent or legal representative           · (c) In support of daJms for damage to property which is not economlcaDy repairable, or if
must be presented In the name of the dalmanl If the daJm Is signed by the agent or legal       the property Is lost or destroyed, the dalmant should submit statements as to the original cost
representatiw, it must show the title or legal capacity of Iha pe·rscn signing and be          of the property, the data of pul):hase, and the value of the property, beth before arid aftarlhe
accompanied by evidence of his/her authority to present a dalm on behalf of the daJmant        accident Such statements should be by disinterested competent persons, preferably
as agent, OXECU!or, administrator, parent, guardian or other representative.                   reputable dealers or officials famlllar with the type of property damaged, or by two or more
                                                                                               competitive bidders, and should be certified as being just and correct.

If dalmantlntends to file for beth personaJ Injury and property damage, the amount for each
must be shown in Hem #12 of this form.                                                           (cf) Failure to specify a sum certain wlD render your cl aim lnva!ld and may ms ult In
                                                                                               fOrfelture of your rlghta.

                                                                                  PRIVACY ACT NOTICE
This Nelles Is provided In aa:crdance with the Privacy Act, 5 U.S.C. 552a(e)(3), end       B. Prfndpal Purposa: The Information requested Is to be used In svalua!lng da/ms.
concerns the lnforma!!on reqU88ted In the letter to which this Notice Is attached.         C. Routine U:se: See ihe Notices of Systems of Records for the agency to whom you
   A Authority: The requested lnfonnatlcn Is aolld!ed pursuant to one or more of              are submitting this form for this Information.
     the following: 5 U.S.C. 301, 28 U.S.C. 501 et aeq., 28 U.S.C. 2871 et seq.,           0. Effect Of F/l/flJre lo R8$p0nd: Disclosure Is voluntary. However, failure lo supply
     28 C.F.R. Part 14.                                                                       the requested lnfonna!lon or to axacute the fonn may render your dalm "lnvalld         0
                                                                                                                                                                                         •




                                                                        PAPERWORK REDUCTION ACT NOTICE

This noUce Is~ for the pufpose of the Paperwork Reduction Act. 44 U.S.C.3501. Public reporting burden for this co41ection of Information Is estimated to averages hours per response,
lndudlng the time for reviewing lnt!lructions, sasrchlng existing data sources, gathering and maintaining the data needed, and completing and reviewing thecoUecl!on of lnfonnalfon. Sand
comments regarding fills burd_en estirt_Ulle or any ether aspect cf this collectlon of Information, lndudlng suggestions for reducing this burden, to the Director, Torts Brandl, Attention:
PapeJWOrk Redudlon Staff, Civil DMst0n, U.S. Department of Justice, Washington, D.C. 20530 or to the Ofllce of Management and Budget. Do not mail completed fonn(s) to these
addresses.


                                                                                                                                                                              SF95           BACK
                                                                              Page 43 of 103
       USDC IN/ND case 1:19-cv-00013-TLS-SLC document 1-1 filed 01/11/19 page 44 of 103
           I
                                                                  INSTRUCTIONS:· Piease read carefully the tnslrucllons on the                       FORM APPROVED
                   CLAIM FOR DAMAGE;                                                                                                                 OMBNO.
                                                                 ·reverse side and supply lnformaUon requested on both sides of this
                    INJURY, OR DEATH                              fonn. Use :addlUonal sheel(s) If necessary. See reverse side for .                 1105-0008
                                                                  addlUonal lnstrucllons.

1. Submit To Appropriate Federal Agency:                                                           2. Name, Address of clalmant and clalmanrs personal represenlaUve, If
                                                                        ·.                         any. (See lnsfnlctrons on reverse.) (Number. Slreet. City, State and Zip
,VARegto~ Council
\;~?~·N:~~1a                                                                                       code>JOH-1'\j   .b OROSS' 3/0.-tjb-t.jf~j
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                                                                                                             Pt lVtUi ro. _r_N Ll t.. 9 Lf..'
                                        4. g,AlE 0~1~~                                             6. D~'t~DAV OF~CCIDENT
3. TYPE OF EMPLOYMENT
  o MILITARY 'flFMLIAN. ·               tJ.~-0
                                         .
                                                      ~       4~s..MAR~ STATUS
                                                                  .               I                          I     I
                                                                                                                                                      1.~Jt~· OR P.M.).

 8. Basis of Claim (Slate In delall lhe lcnown facts and clrctJms!ances attending the damage, Injury, or death, ldenlltylng persons and property Involved, !he
    IJlace of occurrence and l!te cause lheteof. Use add!Uonal pages If necessmy.)                                                                    ·

           &-e                Ck_,-J+ci.~



 J\f
 9.                              -                                               PROPERlYDAMAGE

               'ADRE~S OF OWNER, IF OTHER THAN CLAl~(Number, S!reet, CHy, Slate, and Zip Code).
       '           J \
 BRIEFLY DESCRIBE THE PROPERTY. NATURE AND EXTENT OF DAMAGE AND THE LOCATION WHERE PROPERTY MAY BE INSPECTED.

 ~;;;;r--
 10.                                                               .PERSqNAL INJURYJWRONGFUL DEAlH
 STATE NATURE AND EXTENTOF·EACH.INJURY OR CAUSE OF DEATH, WHICH FORMS1fiE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE NAME QF
 INJURED PERSON OR DECEDENT.


      G~e. a-fta8kd
 11.                                                                                      WITHESSES

                                NAME
                                                                                              -    ADDRESS (Number, Slreet, City, State, m:id Zip Code)


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                                                                      Ft          I   j   h --'.:~fl.;e__J       IN .. . gL/:S
 12. (See lnatrudlons an llMlnie.)                                           AMOUNrOF CLAIM (in dclla18)
 12a. PROPERTY DAMAGE                   12b. PERSONAL INJURY

                                             1$.=vo·      1
                                                              ooo                           12c. WRONGFUL DEATH




 ICERTIFY1HAT1HEAMOUNTOFCLAIMCOWRSONLYDAMAGES.ANI>INJURIESCAUSEDBYTHEINCIDENTASOVEANDAGREETOACCEPTsAiDAMOUNTIN
                                                                                                                                  12d. TOTAL~BUl8 to specify may cause
                                                                                                                                     'rfellure of your lights.)
                                                                                                                                         300.          ooo
 FULL 8ATISf'ACllON AND FINAL 8&TTLEMENTCF nus CLAIM

 13e. SIGNATURE OF ClAIMANT (See lnslnlcl!ona on l'BV8l8B side.)                                   13b. Phone number of peraon slgnlng fonn           14. DATE OF SIGNATURE
               (~./J~~~                                                                            ~ fot) - 4 f< 5'"::J9f'J..4
               // CMI. PENALTY FOR PRESENllNG                                                                    .' CRIMINAL PENALlY FOR PRESENllHG FRAUDULENT
               v                     FRAUDULENT CLAIM                                                                   CLAIM OR MAKlHG FALSESTATEMERTS

 The dalmantla llabla to the United Stales Gowmment,.,rtha dvil penalty cf natrriisa than          Fine cf not mamlllan $10,DDO orlm~mentfornat mora lhait S yeam orboUt.
 SS,000 and not more than $10,000, plus 3 limea the amount of damages suslalned                    (See 18 U.S.C. 287, 1001.)
 by the Gowmmenl (See 31 U.S.C. 3729.)

95-109 .                                                                                                                                 STANDARD FORM 95
                                                                                                                                         PRESCRIBED BY DEPT. OF JUSTICE
                                                                                                                                         28CFR14.2

                                                                              Page 44 of 103                                                              EXHIBIT 18
   ~I   •



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                                                                                                         I

                                                                                  INSURANCE COVERAGE

In Giiier that subrcgal!on dalms may be adjudicated, It le essential that Iha dalmant jmMda Iha following !nfonnallon regarding Iha Insurance cavarage of hla vahlde or property.
                                                                                                                                         .          .
15. Do you carry acddant Insurance? o Yas        If yas, give name and address Of lnBUT811ce company (Number, Sileet, City, Slate, arid Zip Coda) and policy number.                   a No




                                                                                                                        aves          · ONo         17. If deducllbla, state amouJ!l




18•.!I a da!m haa been mad wllh your canfer, what action has your lnaurer taken or proposed lo lake wllh rerarence· 1o your claim? Ot Is necessmy lhatYoU ascertain these fads.)


        N(A
19. Do yau cany public llabilily and pmpedy damage Insurance? · c Yea ·         If~. glva l!!lllle and address   of lnSllll!llca can!ar (Number, Sln!el. Clfy, Slate, and Zip Coda).      cNo



        rJ/A
                                                                                       INSTRUCTJOHS.

Claims p'9sented under the Federal Tort crallris Act should be submitted dlrectiy to the "appropriate Federal agency" whose
employee(s) was Involved In the Incident. Ifthe lncldentlnvolves more than one clalmant, each clalmantehouldsubmlta separate claim
fonn.                                                                                                                       ·                                ·
                                                       Completa all Items - Insert the word NONE where appllcable.
A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FED~                                      DAMAGES !NASUM CERTAIN FOR INJURY TO OR LOSS OF PROPERlY, PERSONAL
AGENCYRECEIVESFROMACLAIMAITT, HIS DULY AUTHORIZED AGENT,OR LEGAL                                INJURY, OR DEATH ALLEGEQ TO HAVE OCCURRED BY REASON OFniE INCIDENT.
REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN                                   THEClAIMMUSTBEPRESENTEDTOTHEAPPROPRIATEFEDERALAGENCYWITH!N
NQTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAIM FOR MONSY                                   lWO YEARS AFTER lliE CLAIM ACCRUES.
~ailure to complafaly executa tflla r.;nn orto supply the requealod matarlal within             The amauntdaimed should be aubalantlaled by competent evidence as follows:
twoyeazsframthaditatheclalmaccn1admayrandaryourclalmlnvalfd. Aclalmls
deemlid p111Sentad wben It Is nJCGlved by the appJOprlate agency, not when It Is                  (a) In support Of !he dalm for personal lnjuiyotdaalb, Iha datmant should aubm!tawril!en
malled.                  .                                                  ,                   report by the lillsnding physician, almwlng the nafllre and extent of lnjwy, the natuni and
                                                                                                exblnt Of lrealment, Iha degiee of pennantint dl&abillty, if any, Iha prognoula, and Iha pedod
                                                                                                of hospilallzallan, or lncapacllallon, allacltlng itSmized bills far medical, hospi!al, or burial
If hla!JUdlon Is needed In campleflng this fonn, lhe agancyUsled In Ham #1 on the rawrse        mcpensas actually lncwrad.
side may be conlacled. Complefs ~ns pertaining lo dalms asserted u!lcfar the
Federal Tmt Claims Ad can be fatmd In Tille 28, Coda of Fedeml Regu!atlone, Part 14.
Many agancles have publlshad aupp!emanllng regulat!ons. If more than one agency 111.              (b} In support of dalms for damage lo property, which has been or can ha eeonomlcally
lnvolwd, please s!DID each agency.                                                              repaired, Iha daimantehould submit atleasUwo Itemized elgnedftltBman!B or11811matr;is b)'
                                                                                                reliable, dlalnteraated concerns, or,.if payn\ant has bean made, Iha itemized signed ruceipls
                                                                                                eW!endng payment.                                                              .
The dalm may be filed bya't1u!y_auUJ0Jfzad agent or clhar la{@ 18.P~l!.111~ piavldad ..
evidence &allafaclary ID the Govammentls subrnlllad willl Iha dalm aslabr!Shlng 6lqll"es8
authority fD act fOr Ille dabnmlt. A claJm pre&en!ed by an agent or legal reprusentaUva          . (c} In aupport of dalms far damaae to property which is nat eccnomlcally rapalmble, or If
muatbupiasentad In Iha name ofIha dalmanL lflha dalln Is signed by lhaagentorlegaJ              lhapiapedylslostordastrcyed, lheclalmantshouldsubmltstatementsas!Dlhemlglnelcost
rupruaantativa, It muat sh- the tilla or legal capacity of the person al9nlng B!td be           oftha property, Iha data of~. and thavalueoflheproparty, bolh belbraaiuf aftSrthe
a=impanled by evidence of Illa/her authority to present a dalm on behalf of Ille cla!nuµ1t      accident. Such etalemenls should be by dlsln!B11181ed competent parsons, preferably
as agent, axecufcr, adml!Jlslra!or, parent, guardian or ott:iar representative.                 reputable deallll'B or olllcla!s famlllarvilth Iha type of propedy damaged, or by fwo or mol8
                                                                                                compellllva bidders, and should be certilled as being just and correct.

If clafmantlntsndslo lilaforbofll personal lnjuiy and prcpedydamaga, Iha amountforeaclt
must bu shown in Ham #12 of this fonn.                               ·                            (d) Fallura to specify a aum certain wlD ninderyour claim Invalid and may result In
                                                                                                fOrfelbua ofyourrfghta.

                                                                                   PRIVACY ACT NOTICE
This Nollce Is ptCVfded In acccrdance wHh the Privacy At;t, 5 u.s.c. 552a{a)(3}, and            B. Pdnt:lpal Purpose: lha lnfonnal!on requaeted Is fD be used In evalua!!ng dalms.
concanis Illa lnforma&on niqueslad In the lellar ID whlcb this Notice Is attached.              C. Routine U.se: Sea Iha Nollces of Syatsms of Records forlhe agency lo whom you
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      the following: 5 U.S.C. 301, 28 U.S.C. 501 et aaq., 28 U.S.C. 2671 at seq.                D. Effect OfFsl1um fa RMPOnd: Dlsclosura la wluntaiy. Howavar, failure ID supply
      28 C.F.R. Part 14.                                                                           Iha requested lnftlrma!lon or ID exacule the fonn may render your clalm "lnvalld'.

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commanta regarding Ibis bulden BBllmalll or any other aspect af Ibis collectlon Of lnfonnation, fndudlng 11Usgeatlona for reducing 111111 bWden, to the Dlnoctor, Torts Branch, Allenllon:
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ac!dresaes.

                                                                                                                                                                                   SF95     BACK

                                                                                 Page 45 of 103
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 Basis of Claim: My claim is premised on the medical malpractice of a VA doctor. My wife and I were
 invited to a meeting on Friday, February 9, 2018 with the Fort Wayne VA Chief of Staff, Dr. Wayne
 McBride, Podiatrist Dr. Becker, and Jana Bakle, R.N., Risk Management. In that meeting, we were
 advised that Dr. Brad Hammersley provided me with sub-standard treatment (described as below the
 VA's standard of care} by performing unnecessary surgery on my Achilles' tendon on November 19,
 2014. Dr. Hammersley misdiagnosed me with an Achilles' tendon rupture, and failed to perform an MRI
 at my November 15, 2014 pre-op appointment to confirm his diagnosis before operating. There was no
 rupture to the Achilles' at all; however, Dr. Hammersley severed the tendon so that he could repair it.
 Further, Dr. Hammersley removed the stitches from the incision site prematurely and before it was fully
 healed, causing me to develop a staph infection that resulted in a six-day hospital stay beginning on
 December 31, 2014. As my treating podiatrist, Dr. Hammersley owed me a duty of care to perform his
 treatment with the degree of skill and proficiency exercised by a reasonable doctor under similar
 circumstances, which was clearly breached. As a result, I not only endured an unnecessary surgery but
 also complications and an extended recovery period which severely diminished my quality of life, as
 outlined below. Until the February 9 meeting, I was unaware of Dr. Hammersley's egregious breach of
 his duty of care as a medical professional.




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 State Nature and Extent of Each Injury:

 The unnecessary surgery performed by Dr. Hammersley involved him cutting into the tendon and
 stretching the tendons to repair it. The surgery he advised would be approximately 1-1/2 hours was 3-4
 hours which caused my wife anxiety until someone came out after two hours to say everything was fine.
 Dr. Hammersley came out after the extended time and advised my wife that the surgery took so long
 because the Achilles was so frayed that it required trimming off those areas and stretching them to
 meet to allow stitching together.

 I was not able to put any weight on that leg whatsoever until the first week of March, 2015 when I could
 walk unassisted. As a result, for approximately four months, I was largely confined to a chair in my
 home. During that time, I was unable to walk, dress myself, shower, or go to the bathroom unaided. I
 could not fix myself meals. I could not travel. I could not play with my grandchild. Other than going to
 doctor's appointments, I could not do anything outside of the house, such as going out to eat, running
 errands, or doing any of the activities that I previously enjoyed. My wife served as my constant
 caregiver during this time, cleaning and changing dressings as ordered by Dr. Hammersley, bathing and
 dressing me, bringing my meals to my chair, assisting in toilet functions and had to lift me into my
 wheelchair for Christmas meals with my family. As a result of the surgery, I endured significant and
 ongoing pain until approximately April, 2015 and now have a limp.

 As noted above, I also contracted a staph infection as a result of Dr. Hammersley's actions. I was
 hospitalized on New Year's Eve, and had to remain for nearly a week. My oldest daughter was visiting
 from the East Coast, and my hospitalization interfered with my ability to spend time with her.

 Due to this unnecessary surgery, I also had to undergo much follow-up care, which was inconvenient for
 both myself and my spouse, who had to drive me to these appointments. We attended three
 appointments at the VA hospital in Marion, Indiana on December 2, December 18 and December 23,
 where Dr. Hammersley was based, which is approximately 1 hc;>ur (a 2-hour round trip) from my home in
 Fort Wayne. In addition, due to the staph infection as well as ongoing redness and soreness, I made
 three trips to the VA emergency room in Fort Wayne on December 29, 30, and 31 for this situation
 before hospitalization and additional trips through April 2, 2015.

 You have my permission to access to the medical records related to this surgery.




                                            Page 47 of 103
  USDC IN/ND case 1:19-cv-00013-TLS-SLC document 1-1 filed 01/11/19 page 48 of 103
                                                                                                                                                     FORM APPROVED
             CLAIM FOR DAMAGE,                                       INSTRUCTIONS: Please read carefully the instructionson the
                                                                                                                                                     0MB NO.
                                                                     reverse side and supplyinformation requested on bothsides ofthis
              INJURY, OR DEATH                                       form. Use additional sheet(s) ifnecessary. See reverse side for
                                                                                                                                                     1106-0008

                                                                     additional Instructions.

 1. Submit To Appropriate Federal Agency:                                                        2. Name,Address of claimantand claimant's personal representative, if
                                                                                                 any. (See instructions on reverse.) (Number, Street, City, State and Zip
 VA Regional Council                                                                             Code)
 676 N. Pennsylvania Street                                                                      Deborah Fortier
 Indianapolis, IN 46204                                                                          495 Amberwood Circle
                                                                                                 Kokomo, IN 46901


 3. TYPE OF EMPLOYMENT                   4. DATE OF BIRTH            6. MARITAL STATUS           6. DATE AND DAY OF ACCIDENT                         7. TIME(A.M. OR P.M.).
  XMILITARY •.CIVILIAN                   03/01/1976                   Divorced                     11/13/2015

 8. Basis ofClaim (State indetail the known facts and circumstances attending the damage, injury, ordeath, identiiying persons and property involved, the
       place ofoccurrence and the cause thereof. Use additional pages ifnecessary.)

  See Attached Addendum Exhibit 1




                                                                                 PROPERTY DAMAGE


 NAME ANDADDRESS OF OWNER, IF OTHERTHAN CLAIMANT (Number, Street, City. State, and Zip Code).
N/A


 BRIEFLY DESCRIBETHE PROPERTY, NATURE ANDEXTENT OF DAMAGE AND THE LOCATION WHERE PROPERTYMAY BE INSPECTED.
 (See Inatruotions on reverse side.)

N/A


 10.                                                                   PERSONAL INJURY/WRONGFUL DEATH

 STATE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THECLAIM. IF OTHER THAN CLAIMANT. STATE NAME OF
 INJURED PERSON OR DECEDENT;


  See Attached Addendum Exhibit 1




                                                                                      WITNESSES

                              NAME                                                               ADDRESS (Number, Street, City, State, and Zip Code)

Jana M. Bakle, Risk Manager of the VA                                  VA Northern Indiana HCS
                                                                       1700 E. 38th Street
                                                                       Marion, IN 46953



 12. (See instructions on reverse.)                                         AMOUNT OF CUIM (in dollars)

 12a. PROPERTY DAMAGE                    12b. PERSONAL INJURY                              1.2c. WRONGFUL DEATH                   12d. TOTAL(Failure to specify may cause
                                                                                                                                       forfeitureof your rights.)
                                0.00                                        1.250,000                                     0.00
                                                                                                                                                         1,250,000

 I CERTIFYTHATTHE AMOUNTOF CLAIM COVERS ONLYDAMAGES AND INJURIES CAUSEDBYTHE INCIDENT ABOVEANDAGREE TO ACCEPT SAIDAMOUNT IN
 FULL SATISFACTION AND FINAL SETTLEMENT OF THIS CLAIM

 13a. SIGNATURE OF CLAIMANT (See instructions on reverse side.)                                   13b. Phone number of person signing form            14. DATE OF SIGNATURE




                             CIVIL PENALTY FOR PRESENTING                                                     CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
                                      FRAUDULENT CLAIM                                                              CLAIM OR MAKING FALSE STATEMENTS

 The claimant Is liable to the United States Government for the civil penalty of not less than    Fine of not more than $10,000 or Imprisonmentfor not more than 5 years or both.
 $5,000 and not more than $10,000, plus 3 times the amount of damages sustained                   (See 18 U.S.C. 267,1001.)
 by the Government. (See 31 U.S.C. 3729.)

95-109                                                                            NSN 7540-DO-634-4046                                   STANDARD FORM 95
                                                                                                                                         PRESCRIBED BY DEPT. OF JUSTICE
                                                                                                                                         28CFR14.2




                                                                            Page 48 of 103                                                              EXHIBIT 19
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                                                                              INSURANCE COVERAGE

In order that subrogation claims may beadjudicated, It isessential that the claimant provide thefollowing information regarding theinsurance coverage ofhis vehicle orproperty.
15. Do you carry accident Insurance? • Yes If yes, give name and address ofinsurance company (Number, Street, City, State, and Zip Code) and policy number.                          • No
  N/A




16. Have you filed aclaim on your insurance carrier In this instance, and if so, is it full coverage or deductible? • Yes         DNo             17. If deductible, state amount.

 N/A



18. If a claim hasbeen filed with your carrier, what action hasyour Insurer taken orproposed totake with reference to your claim? (It isnecessary that you ascertain these facts.)
N/A




19. Do you carry public liability and property damage Insurance? • Yes If yes, give name and address of insurance carrier (Number, Street, City, State, and Zip Code).               • No
N/A




                                                                                    INSTRUCTIONS


Claims presented under the Federal Tort Claims Act should be submitted directly to the "appropriate Federal agency" whose
employee(s) was involved inthe incident. Iftheincident involves morethanoneclaimant, each claimant shouldsubmit aseparateclaim
form.

                                                       Complete all items - Insert the word NONE where applicable.
A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL                                DAMAGES INA SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY. PERSONAL
AGENCYRECEIVESFROMACLAIMANT, HISDULY AUTHORIZED AGENT,OR LEGAL                               INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BYREASON OF THEINCIDENT.
REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN                                THECLAIM MUST BEPRESENTED TO THEAPPROPRIATE FEDERAL AGENCY WITHIN
NOTIFICATION OF AN INCIDENT,ACCOMPANIED BYA CLAIM FOR MONEY                                  TWO YEARS AFTER THE CLAIMACCRUES.

Failure to completely execute this form or to supply the requested material within           The amount claimed should be substantiated by competent evidence as follows:
two years from the date the claim accrued mayrender your claim invalid. Aclaim Is
deemed presented when it Is received by the appropriate agency, not when It is                 (a) Insupport oftheclaim forpersonal injury ordeath, theclaimant should submit awritten
mailed.                                                                                      report bythe attending physician, showing the nature and extent ofInjury, the nature and
                                                                                             extent oftreatment, the degree of permanent disability, ifany,the prognosis,and the period
                                                                                             of hospltalizatlon, or Incapacitatlon, attaching itemized bills formedical, hospital, or burial
Ifinstruction is needed Incompletingthis form, the agency listedInitem#1 on the reverse      expenses actuallyincurred.
side may be contacted. Complete regulations pertaining to claims asserted under the
Federal Tort Claims Act can be found in TlUe28, Code of Federal Regulations, Part 14.
Manyagencies have published supplementingregulations. Ifmore than one agency is                (b) In support ofclaims fordamage to property, which has beenorcan be economically
involved, please state each agency.                                                          repaired, theclaimant should submit atleast two itemized signed statements orestimates by
                                                                                             reliable, disinterested concerns,or, ifpaymenthas been made, the Itemized signed receipts
                                                                                             evidencing payment.
The claim may be filed bya dulyauthorized agent or other legalrepresentative, provided
evidence satisfactory to the Government is submittedwiththe claimestablishing express
authorityto act for the claimant. A claim presented by an agent or legal representative        (c) In support ofclaims fordamage to property which is not economically repairable, orif
mustbe presented Inthe nameofthe claimant Ifthe claimIssigned bythe agent or legal           theproperty Islostordestroyed, theclaimant should submit statements as totheoriginal cost
representative, It must show the title or legal capacity of the person signing and be        oftheproperty, thedateofpurchase, andthevalue oftheproperty, both before andafter the
accompaniedbyevidenceofhis/her authority to present a claimon behalfofthe claimant           accident    Such statements should be by disinterested competent persons, preferably
as agent, executor, administrator, parent, guardian or other representative.                 reputable dealersorofficials familiar with the typeof property damaged, or bytwo or more
                                                                                             competitive bidders,and should be certified as beingjust and correct.

Ifclaimantintends tofileforboth personal injury and propertydamage, the amountforeach
must be shown In Item #12 of this form.                                                        (d) Failure to specifya sum certain willrenderyour claimInvalid and mayresult In
                                                                                             forfeiture of your rights.

                                                                                 PRIVACY ACT NOTICE
This Notice is provided in accordance with the PrivacyAct, 5 U.S.G. 562a(e)(3), and          B. Principal Purpose: The information requested is to be used inevaluating claims.
concerns the Information requested in the letter to whichthis NoticeIs attached.             G. Routine Use: See the Noticesof Systems of Records for the agency to whom you
   A. Authority: The requested Information Issolicited pursuantto one or moreof                  are submitting this form for this information.
      the following: 5 U.S.C. 301, 28 U.S.C. 501 et seq., 28 U.S.C. 2671 et seq.,             D. Effect ofFailureto Respond: Disclosure Isvoluntary. However, failure to supply
      28 G.F.R. Part 14.                                                                         the requested Information or to executetheform mayrenderyour claim "invalid".

                                                                       PAPERWORK REDUCTION ACT NOTICE

This notice issolely for thepurpose ofthePaperwork Reduction Act. 44U.S.C. 3501. Public reporting burden forthis collection ofinformation isestimated toaverage 6 hours perresponse,
including thetime for reviewing instructions, searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection ofInformation. Send
comments regarding this burden estimate oranyother aspect ofthis collection ofinformation, Including suggestions for reducing this burden, totheDirector, Torts Branch, Attention:
Paperwork Reduction Staff, Givll Division, U.S. Department ofJustice, Washington, D.C. 20530 ortotheOffice ofManagement andBudget. Do not mall completed form(s) tothese
addresses.

                                                                                                                                                                               SF 95        BACK




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  8. BASIS OF CLAIM (STATE IN DETAIL THE KNOWN FACTS AND
  CIRCUMSTANCES ATTENDING THE DAMAGE, INJURY, OR DEATH,
  IDENTIFYING PERSONS AND PROPERTY INVOLVED, THE PLACE OF
  OCCURRENCE, AND THE CAUSE THEREOF)

  (Cont'd from Pase 1 ofthe SF-95 Form)

         On November 13, 2015, Deborah Fortier ("Deborah") underwent an Arthrodesis of the
  1®\ 2°'^, and 3"^ metatarsal joint in her left foot using screw fixation performed by Dr.
  Hammersley. The procedure was done improperly due to misalignment of the screws utilized,
  and failure to use appropriately sized screws.

          On December 31, 2015, seven weeks post-operation. Dr. Hammersley ordered Deborah
  to begin weight-bearing. This was ordered despite the fact that x-rays taken on the same day did
  not show fusion of the bones.

          On February 1, 2016, Dr. Hammersley documented that Deborah had done some walking
  in her boot against his medical advice. This statement was inaccurate, as he previously instructed
  the patient to begin weight-bearing. The x-rays taken this day show one of the screws projecting
  into the joint space. Dr. Hammersley planned surgery to remove the screw, but Deborah
  developed pinkeye and the surgery was rescheduled. Two days prior to the second surgery. Dr.
  Hammersley had a major health incident and was placed on medical leave.

          On April 20, 2016, Deborah was seen by another podiatrist. Dr. Becker, since Dr.
  Hammersley was on medical leave. Deborah had been in a boot since her first surgery. A CT
  scan was ordered and completed on May 18, 2016, which showed an incomplete fusion of the
  third tarsometatarsal joint with the third tarsometatarsal screw terminating between the second
  and third cimeiforms. A longitudinally oriented second tarsometatarsal screw terminates at the
  navicular cuneiform joint space. Deborah was notified of the results of the CT scan and did not
  follow-up with the VA podiatry service. Instead, Deborah followed-up with a non-VA provider
  who removed the screws on September 21,2016.

          On February 28,2018, Deborah was sent a letter from Michael E. Hershman, the Director
  of the VA Northem Indiana Health Care System, in Marion, Indiana, attached as Addendum A.
  The letter states: "We have recently performed a review of podiatric surgery cases performed
  here at the VA Northem Indiana Health Care System. As a result of our review, it was leamed
  that your past podiatric procedure may not have met the standard of care." Mr. Hershman
  confirmed a meeting with Deborah and stated that the purpose of the meeting was to discuss the
  Veteran's podiatric care and to explain how the VA felt it deviated from the standard of care.
  Additionally, Mr. Hershmanstated that he would like to discuss the possibilityof having another
  podiatric evaluation to determine if further surgeryor additional treatment wouldbe required.




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        On March 8, 2018, Deborah met with Ms. Bakle and disclosed Dr. Hammersley's
  medical malpractice that occurred during Deborah's first surgery on November 13, 2015. The
  Risk Manager showed Deborah what her x-rays and CT scans showed and what the surgery
  outcome should have been versus what the actual outcome was. This was the first time Deborah
  learned that she may have suffered injury as a result of medical malpractice. Deborah also
  received a report fi:om the VA highlighting the aforementioned negligent conduct, and this is
  attached as Addendum B.

         Deborah has not walked on her foot since her surgery on September 21, 2016 when the
  non-VA provider removed the screws. It is highly likely that Deborah will be confined to the use
  of wheelchair for the rest of her life and will require future surgery on her left foot.

      The medical care rendered by Dr. Hammersley and the Department of Veteran Affairs
  through their agents, employees, physicians and healthcare providers to Deborah Fortier, was
  negligent and below the appropriate standard of care in one or more of the followingrespects:

        1. Negligently performed Ms. Fortier's Arthrodesis ofthe 1®', 2"^, and 3"^ metatarsal joint in
           her left foot;
        2. Failedto provide appropriate post-operative care and treatment, includingbut not limited
           to the negligent recommendationto bear weight seven weeks post-operation; and
        3. Failed to appropriately, accurately, and completely document Ms. Fortier's medical
           treatment.


  13.      Plaintifrs Legal Representative:

           Kent Winingham, Attorney #34826-29
           WILSON KEHOE WININGHAM, LLC
           2859 N. Meridian Street
           Indianapolis, IN 46208
           Tel: 317.920.6400
           Fax: 317.920.6405
           Email: Kwiningham@wkw.com


           See attached Addendum C - Contract Employing Attorneys to establish proof of
           representation.

  The following items are attached:

  Addendum A:       Letter from VA Director Michael E. Hershman to Deborah Fortier

  Addendum B: VA Notes from Meeting on March 8,2018

  Addendum C: Contract Employing Attorneys




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                               DEPARTMENT OF VETERANS AFFAIRS
                         Veterans Affairs Northern Indiana Health Care System
                                          2121 Lake Avenue
                                      Fort Wayne, IN 46805-5100
                                            (800) 360-8387




    February 28, 2018



    DEBORAH KAY FQRTIER
    495 AMBERWOOD CIR
    KOKOMO, IN 46901


    Dear Ms. Fortier,

    We have recently performed a review of podiatric surgery cases performed here at the
    VA Northern Indiana Health Care System. As a result of our review, it was learned that
    your past podiatric procedure may not have met the standard of care.

    This letter is confirming your meeting with VA Northern Indiana Health Care System
    representatives on March 8, 2018 at 12:15pm on the Marion VA Campus, Building 2 in
    the Director's Conference Room.


    We would like to meet with you to discuss your podiatric care and explain how we feel it
    deviated from the standard of care. We would also like to discuss with you the
    possibility of renewed podiatric evaluation to determine if further surgery or other
    treatment would be indicated. Please call (260) 426-5431, extension 71513 if you have
    any further questions, concerns or if you need to reschedule this meeting.

    We look forward to meeting you and are prepared to answer any questions you may
    have. We appreciate being able to meet your care needs and look forward to
    continuing to partner in your health care.

    Sincerely,



    Michael E. Hershman, MHA, FACHE
    Director




                                                                                Addendum A

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FORTIER, DEBORAH KAY                       CONFIDENTIAL                                           Page 35 of 63




   VA Notes
                         louree: VA
                  la^ Updateclr 27 Mar 2018 @ 2207
                     Sprtetf;Byi Date/Time (Descending)
  VA Notes from January 1,2013 forward are available 3 calendar daysafter they have been completed
  and signed byall required members of your VA health care team. Ifyou haveany questions about your
  information please visit the FAQs or contactyour VA health care team.
                                                                                                                   •iv-- • ..
                    Date/Time; 20 Mar 2018 @ 1831
                     Note Title; INSTITUTIONAL DISCLOSURE OF ADVERSE EVENT
                      Locatlont VA NORTHERN INDIANA HCS
                     Signed By; BAKLE,JANA M
                Co-signed By; BAKLE,JANA M
            Date/Time Signed; 20 Mar 2018 @ 1832                                                                         v:.--
                                                                                                                  ;-v -i.v       ••
                                                                                                                                      .
                                                                                                                                          -/vj-




 Note                                                                       . v.-,-:;::.-




  LOCALTITLE: INSTITUTIONAL DISCLOSURE OF ADVERSE EVENT
 STANDARD TITLE: COMMUNICATION OF ADVERSE EVENT
 DATE OF NOTE: MAR 20,2018@18:31           ENTRY DATE: MAR 20, 2018(5)18:31:49
    AUTHOR: BAKLE,JANA M    EXP COSIGNER:
    URGENCY:             STATUS: COMPLETED

 INSTITUTIONAL DISCLOSURE OF ADVERSE EVENT


 Date/Time of Discussion: 3-8-18

 Place of Discussion (Reason for any delay in the disclosure): Marion
 Conference Room
 Names and identity of those present:
 Deborah Fortier-Veteran
 Tracy-Veterans Friend
 Dr. McBride- Chief of Staff                                                                                      •f
 Dr. Becker- Podiatrist
 Nicole Gust- HSS to COS
 Jana Bakle-Risk Manager


 Discussion points of the adverse event:

 Veteran was consulted to Dr. Hammersley on 9/2/15 for chronic pain in both feet.

 She had a history of ORiF surgery on left foot from a previous injury. Dr.
 Hammersley states the left foot x-ray shows show degenerative changes at
 tarsometatarsal articulation. He diagnosed her with traumatic arthritis left

                                                                                            Addendum B
                                             Page 53 of 103
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FORTIER, DEBORAH KAY                         CONFIDENTIAL                           Page 36 of 63

 foot and lisfranc fracture/dislocations bilateral. He ordered a CTscan and
 continued Ritchie braces.

 CT performed on 9/15/15 that did not support the Lisfranc or Tarsometatarsal
 fracture/dislocation.

 Veteran has surgery on 11/13/15 for Arthrodesis of the 1st, 2nd, and 3rd
  metatarsai
 joint, left foot using screw fixation. The procedure was done improper. The
 screws were all in the same direction not allowing for good stability. Also, the

 screws used were too long.

 Dr. Hammersley ordered the Veteran on 12/31/15 to begin weightbearlng. Seven
 weeks post-operative is too early for Veteran to bear weight. This should have
 been 10-12 weeks. The x-rays dated 12/31/15 do not show fusion of the bones,
 further indicating that she should not be weight bearing.

  2/1/16 Dr. Hammersley documents that the Veteran has done some walking in her
  bot against medical advice which is inaccurate since he documented the
  previously instructing the patient to begin weight bearing. That visits x-ray
 shows one of the screws is projecting into the joint space. He had planned
 surgery to remove screw. However, the Veteran developed pink eye and the surgery

  was canceled.

  4/20/16 The Veteran was seen by another podiatrist due to Dr. Hammersleyon                        ^         ••




 medical leave. The Veteran stated that she has been in a boot since surgery. CT
 was ordered and completed on 5/18/16 that showed incomplete fusion of the third
 tarsometatarsal joint with the third tarsometatarsal screw terminating between
 the second and third cuneiforms. A longitudinally oriented second
 tarsometatarsal screw terminates at the navicuiar cuneiform joint space.

 Veteran was notified of the results of the CTscan and did not follow up with VA

  podiatry service. She instead followed-up with Non-VA provider who removed the
 screws.




      Studies or imaging do Not confirm surgical diagnosis or findings.
      Treatment or procedure not performed correctly. The hardware used were
 too long and not fixated correctly.
                                                                                                        V -
 *    Lack of appropriate or incomplete medical record documentation.
      Inappropriate or Incomplete post-operative follow up. Veteran was
 ordered to walk too early which caused delay in fusion and screw displacement.

  Offer of assistance, including arrangements for a second opinion, additional
  monitoring, expediting clinical consultations, bereavement support:

 Veteran states she has not walked on her foot since her surgery in November
 2015. She said she is in a wheel chair for life. She was offered a thorough
 evaluation from podiatry. She is scheduled on 4-10-18.


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FORTIER, DEBORAH KAY                                 CONFIDENTIAL                            Page 37 of 63



 Advisement of 1151 claims process and right to file administrative
 tort claim: The Veterans was informed of his rights to file a 1151 disability
 claim and/or administrative Tort Claim. Financial Compensation after an injury
 brochure was provided to the Veteran as well as a blank disability claims
 application and SF-95 Tort Claims form.

 Continued communication regarding the adverse event:
 The Veteran was given Jana Bakie's contact Information to follow up with any

 additional questions he may have.                                                                              1;.••



 Contact information for individual managing the disclosure:                                                               .
                                                                                                                         "v."'
                                                                                                                                  "'if-



 Jana Bakle
  260-426-5431 ext 71522



 /es/JANA M BAKLE
  RISK MANAGER
 Signed: 03/20/2018 18:32
                                                                                                        '   •



              -   -   -   •                  -           •                        .   '.a.         '•

                              DateAitne: 20 Mar 2018 @ 1139
                              NoteTltle:   HT NOTE                                                                      •v-ri- i S'


                               Location:   VA NORTHERN INDIANA HCS
                         Signed By: BEiTLER,WENDY M
                      Co-signed By: BEITLER,WENDY M
                  Date/Time Signed: 20 Mar 2018 @ 1149

  Note




  LOCAL TITLE: HT NOTE
 STANDARD TITLE: CARE COORDINATION HOME TELEHEALTH NOTE
  DATE OF NOTE: MAR 20, 2018@11:39 ENTRY DATE: MAR 20, 2018@11:40:28
    AUTHOR: BEITLER,WENDY M     EXP COSIGNER:                                                                                  ••V •
    URGENCY:                          STATUS: COMPLETED


 Type of Encounter: Telephone
 Care coordinator called veteran/caregiver
 Diagnosis: Obesity
 Length of conversation: 5-10 minutes

 FORTIER, DEBORAH (-6231)
 Vital Sign Data for: 02/19/2018 - 03/20/2018
 (All times are EST; Ail weights are lbs)
                                                                                                                •l;;:    . ' -



  Primary DMP: VHA-Wt Mgmt
 Comorbid(s):
                                                                                                                                 r..>




                                                     Page 55 of 103
                               CONTRACT EMPLOYING ATTORNEYS
USDC IN/ND case 1:19-cv-00013-TLS-SLC document 1-1 filed 01/11/19 page 56 of 103
    Deborah Fortier, as client(s), employ(s) Wilson Kehoe Winingham LLC, attorneys of
Indianapolis, Indiana, to prosecute by lawsuit or otherwise, in the discretion of the attorneys, the
client(s) claim arising from Medical Malpractice.        The attomeys agree to represent the client in
obtaining a Medical Review Panel opinion, at which time continued representation shall be at the
discretion of both the clients and attomeys.
       The elient(s) agrees to pay to the attomeys an amount of money equal to Fifteen Percent (15%)
of the gross amount of any and all sums received or recovered, whether by way of settlement or by
judgment paid from the Indiana Patients' Compensation Fund, as payment for the attomeys' services.
This sum will be paid before the reduction of expenses. The percentage of attomey fees recovered on
behalf of any other healthcare defendant(s) shall be adjusted to whatever Percent is necessary, or as
otherwise provided by the Tort Claims Act, so that the total attorney fees for all amounts recovered
by way of settlement or judgment shall be as much as, but not to exceed, 33 1/3 % of the gross
amount of all sums received or recovered before reduction of expenses.
       It is understood and agreed by the elient(s) and attomeys that in the event of recovery, all out-of-
pocket expenses incurred in the preparation, investigation, or trial of the claim shall be reimbursed to the
attomeys out of all sums recovered or received.       Examples of out-of-pocket expenses include court
costs, subpoena costs, mediation costs, deposition and court reporter costs, videographer costs, medical
records costs, expert witness costs, non-loeal travel costs, medical graphic and illustration services,
physician and/or legal nurse consultant services.
       It is understood and agreed by the client(s) and attomeys that in the event of recovery, an
additional charge of one percent (1%) of the gross settlement will be paid by the client to cover
administrative costs. Examples of administrative costs include access to legal research and background
databases, telephone calls, faxes, mailing and shipping expenses, copying and printing costs, and local
travel and parking.


   Said attomeys hereby accept the within emplojmient.


   WITNESS our hand(s) and seal(s) this 25th day of April, 2018.



                                          DEBORAH FORTIER


   Said attomeys hereby accept the within employment.

                                          Wilson Kehoe Winingham LLC



                                               Page 56 of 103
                                                 W. KENT   WININ
                                                                                    Addendum C
           USDC IN/ND case 1:19-cv-00013-TLS-SLC document 1-1 filed 01/11/19 page 57 of 103
             CLAIM FOR DAMAGE,                                                 FORM APPROVED
                                                                        INSTRUCTIONS: Please read carefully the instructions on th e
                                                                        reverse side and supply information requested on both sides of this                   OMB NO . 1105-0008
              INJURY, OR DEATH                                          form . Use additional sheet(s) if necessary. See reverse side for
                                                              I         additional instructions.
1. Submit to Appropriate Federal Agency:                                                              2. Name, address of claimant, and claimant's personal representative if any .
                                                                                                         (See instructions on reverse). Number, Street, City, State and Zip code .

VA Regional Council                                                                                   Michael A Garman
575 N. Pennsylvania                                                                                   4730 Pleasant Valley
Indianapolis, IN 46204                                                                                Fort Wayne, IN 46825

3. TYPE OF EMPLOYMENT                     4. DATE OF BIRTH             5. MARITAL STATUS              6. DATE AND DAY OF ACC IDEN T                         7. TIME (AM . OR P.M.)
     D MILITARY       (8) CIVILIAN        09/11/1980                   Married                        04/13/2012                       Friday
8. BAS IS OF CLAIM (State in detail the known facts and circumstances attend ing the damage, injury, or death, identifying persons and property involved , the place of occurrence and
   the cause thereof. Use additional pages if necessary).


See "narrative" attached hereto as Exhibit 1




9.                                                                                 PROPERTY DAMAGE

NAME AND ADDRESS OF OWNER , IF OTHER THAN CLAIMANT (Num ber, Street, City , State , and Zip Code) .


Not applicable
BRIEFLY DESCR IBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PRO PERTY MAY BE INSPECTED.
(See instructions on reverse side).



Not applicable
10.                                                                     PERSONAL INJURY/WRONGFUL DEATH

STATE THE NATURE AND EXTENT OF EACH IN JUR Y OR CAUSE OF DEATH , WH ICH FORMS THE BAS IS OF THE CLAIM . IF OTHER TH AN CLAIMANT, STATE THE NAME
OF THE INJURED PERSON OR DECEDENT .


See "narrative" attached hereto as Exh ibit 1.



11 .                                                                                    WITNESSES

                               NAME                                                                   ADDRESS (Number, Street, City , State, and Zip Code)




                     Michelle Garman                                                                           4730 Pleasant Va lley Drive
                                                                                                                  Fort Wayne , IN 46825
12. (See instructions on reverse).                                            AMO UNT OF CLAIM (in dollars)

12a. PROPERTY DAMAGE                      12b. PERSONA L INJURY                                12c. WRONGFUL DEATH                      12d. TOTAL (Failure to specify may cause
                                                                                                                                             forfeiture of your rights).

0.00                                     400 ,000.00                                           0.00                                     400 ,000.00
I CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND IN JURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUN T IN
FULL SATISFACTION AND FINAL SETTLEMENT OF THIS CLAIM.


111~                                     i n::;n;/~ ~~e~:e                               M)           13b. PHONE NUMBER OF PERSON SIGNING FOR M 14. DATE OF SIGNATURE
                                                                                 JAA/1
                   OF CLAIMANT (See                               si) b A
                                                                                                      (260) 755-9418                                              b - r;?r-1&>
                              CIVIL PENAL TY FOR PRESENTING                                                        CRIMINAL PENAL TY FOR PRESENTING FRAUDULENT
                                    FRAUDULENT CLAIM                                                                    CLA IM OR MAKING FALSE STATEMENTS

The claimant is liable to the United States Govern ment for a civil penalty of not less than          Fine, imprisonment, or both . (See 18 U.S.C. 287, 1001 .)
$5 ,000 and not more than $10,000 , plus 3 times the amount of damages sustained
by the Government. (See 31 U.S.C. 3729).

Authorized for Local Reproduction                                                NSN 7540-00-634-4046                                            STANDARD FORM 95 (REV. 2/2007)
Previous Edition is not Usable                                                                                                                   PRESCRIBED BY DEPT. OF JUSTICE
                                                                                                                                                 28 CFR 14.2
95-109

                                                                                  Page 57 of 103                                                              EXHIBIT 20
          USDC IN/ND case 1:19-cv-00013-TLS-SLC      document 1-1 filed 01/11/19 page 58 of 103
                                           INSURANCE COVERAGE

In order that subrogation claims may be adjudicated , it is essential tha t the claimant provide the following information regarding the insurance coverage of the vehicle or property .

15. Do you carry accident Insurance?       D    Yes     If yes, give name and address of insu rance company (Number, Street, City , State, and Zip Code) and policy number.             [8J   No




16. Have you filed a claim with your insurance carrier in th is instance , and if so, is it full coverage or deductible?    D Yes [8J No             17. If deductible, state amount.




18. If a claim has been filed with your carrier, what action has your insurer taken or proposed to take with reference to your claim? (It is necessary that you ascertain these facts) .


Not applicable



19. Do you carry public liability and property damage insurance?      D     Yes    If yes, give name and address of insurance carrier (Number, Street, City, State, and Zip Code).        [8J No




                                                                                         INSTRUCTIONS

Claims presented under t he Federal Tort Claims Act should be submitted directly to the " appropriate Federal agency" whose
employee(s) was involved in the incident. If the incident involves more than one cla imant, each claiman t s hould submit a separate
claim form .

                                                          Complete all items - Insert the word NONE where appl icabl e.

A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL                                      DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY , PERSONAL
AGENCY RECEIVES FROM A CLAIMANT, HIS DULY AUTHORIZED AGENT , OR LEGAL                              INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INCIDENT.
REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITIEN                                      THE CLAIM MUST BE PRESENTED TO THE APPROPR IATE FEDERAL AGENCY WITHIN
NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAIM FOR MONEY                                      TWO YEARS AFTER THE CLAIM ACCRUES .

Fail ure to completely execute this fonn or t o s upp ly th e requested materi al within            The amount claimed should be substa ntiated by competent evidence as follows :
two yea rs from the date the claim acc ru ed may ren d er y our cla im invalid. A claim
is deemed pre sented when it is rece ived by t he appro priate agency , not when it is              (a) In support of the claim for personal injury or death , the claimant should submit a
mailed .                                                                                            written report by the attending physician, showing the natu re and extent of the injury, the
                                                                                                    nature and extent of treatment, the degree of permanent disability, if any, the prognosis ,
                                                                                                    and the period of hospitalization, or incapacitation, attaching itemized bills for medical,
If instruction is needed in completing this form , the agency listed in item #1 on the reverse      hospital, or burial expenses actually incurred.
side may be contacted . Complete regulations pertaining to claims asserted under the
Federal Tort Claims Act can be found in Title 28 , Code of Federa l Regulations , Part 14.
Many agencies have published supplementing regulations . If more than one agency is                 (b) In support of claims for damage to property , which has been or can be economically
involved , please state each agency .                                                               repaired , the claimant should submit at least two itemized signed statements or estimates
                                                                                                    by reliable , disi nterested concerns , or, if payment has been made , the itemized signed
                                                                                                    receipts evidencing payment.
 The claim may be fi lled by a duly authorized agent or other legal representative , provided
 evidence satisfactory to the Government is submitted with the claim establishing express
 authority to act for the claimant. A claim presented by an agent or legal representative           (c) In support of claims for damage to property which is not economically repa irable , or if
must be presented in the name of the cla imant. If the claim is signed by the agent or              the property is lost or destroyed , the claimant should submit statements as to the original
legal representative , it must show the title or legal capacity of the person sign ing and be       cost of the property, the date of purchase , and the value of the property , both before and
accompa nied by evidence of his/her authority to present a claim on behalf of the claimant          after the accident. Such statements should be by disinterested competent persons,
as agent, executor, administrator, parent, guardian or other represen tative.                       preferably reputable dealers or officials familiar with the type of property damaged , or by
                                                                                                    two or more competitive bidders, and should be certified as being just and correct.

If claima nt intends to file for both personal injury and property damage , the amount for
each must be shown in item number 12 of this form .                                                 (d) Failu re to s pecify a sum certain w ill rend er your claim invalid and may resu lt in
                                                                                                    forfeiture of y our rig hts .

                                                                                     PRIVACY ACT NOTICE
This Notice is provided in accordance with the Privacy Act, 5 U.S.C. 552a(e)(3), and                B. Principal Purpose: The information requested is to be used in evaluating claims .
concerns the information requested in the letter to which this Notice is attached .                 C. Routine Use: See the Notices of Systems of Records for the agency to whom you are
   A Authority: The requested information is solicited pursuant to one or more of the                  submitting this form for this information.
        following : 5 U.S.C. 301 , 28 U.S.C. 501 et seq ., 28 U.S.C. 2671 et seq ., 28 C.F.R.       D. Effect of Failure to Respond: Disclosure is voluntary . However, failure to supply the
        Part 14.                                                                                       requested information or to execute the form may render your claim "invalid."

                                                                           PAPERWORK REDUCTION ACT NOTICE

This notice is~ for the purpose of the Paperwork Reduction Act, 44 U .S.C. 3501 . Public reporting burde n for this collection of information is estimated to average 6 hou rs per
response , including the time for reviewing instructions, searching existing data sources , gathering and maintaining the data needed , and completing and reviewing the collection of
information. Send comments regarding this burden estimate or any other aspect of this collection of information , including suggestions for reducing this burden , to the Director, Torts
Branch , Attention : Paperwork Reduction Staff, Civil Division , U.S. Department of Justice , Washington , DC 20530 or to the Office of Management and Budget. Do not mail completed
fonn(s) to these addresses .

                                                                                                                                              STANDARD FORM 95 RE V. (212007) BACK

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 SF95 Box 8

        Michael had had left foot pam for two years when he went to see podiatrist, Dr.

 Hammersley at the VA in 2011 . Dr. Hammersley documented a left fifth metatarsal base fracture

 and on October 14, 2011 , performed an ORIF of the fifth metatarsal. On February 24, 2012, Dr.

 Hammersley performed a procedure to remove a K-wire that was causing Michael irritation. On

 April 13, 2012, Dr. Hammersley removed the hardware he had previously placed and transferred

 the peroneus brevis tendon to the cuboid. This is the procedure that began the malpractice.

 Michael does not know why Dr. Hammersley performed this specific procedure and it appears that

 the surgery was done incorrectly. Not only was it inappropriate to anchor the peroneus brevis to

 the cuboid, but one of the anchors was incorrectly placed in the calcaneal-cuboid joint space.

        Over the next three years, Michael continued to see Dr. Hammersley and, not only did Dr.

 Hammersley fail to mitigate the harm he caused, but he also added to it. Dr. Hammersley did not

 recognize the incorrect placement of the anchor, he performed nerve blocks without informed

 consent, and he never adequately treated the left foot issues. On June 12, 2015 , Dr. Hammersley

 finall y recognized the incorrect placement of the one anchor and removed it, but he did nothing to

 stabilize the left foot. Michael followed up with Dr. Hammersley on June 30, 2015 where the

 sutures were removed, but nothing else was done. Michael has not seen Dr. Hammersley since

 then. Michael saw another podiatrist, Dr. Shiu, on August 5, 2015, but Dr. Shiu did not make any

 further recommendations and Michael has not seen another podiatrist since.

        Michael trusted that everything Dr. Hammersley did was appropriate and that his pain and

 suffering was just the unfortunate expected consequence of having a foot fracture . It was not until

 he had a meeting with the VA Chief of Staff and risk management on March 9, 2018 that he was

 informed that the initial surgery was done incorrectly. Since then, Michael sought another non-




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•   >



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         VA orthopedic surgery opinion. He saw Dr. Scott D. Karr, M.D. at Ortho Northeast (ONE) in Fort

         Wayne, Indiana. Dr. Karr recommended that Michael not bear weight, that he use a roll-a-bout,

         that he do physical therapy, and that he have a left foot calcaneal-cuboid fusion and possible

         gastrocnemius recession. That surgery will be scheduled in the near future.

         Box 10

                  The damages that Michael has realized thus far include:

            •     Complete inability to ambulate (August 2016-present)

            •     Complete inability to run (April 2012-present)

            •     Inability to walk long distances (April 2012-August 2016)

            •     Severe daily pain in the left foot whether ambulating or not (April 2012-present)

            •     Multiple unnecessary surgeries (4113/2012, 6/12115, and one upcoming)

            •     Loss of family income - his spouse had to reduce her working to care for Michael

            •     Loss of consortium and services to Michael ' s wife, Michelle Garman

                  Additionally, there are likely to be future damages that Michael has not yet realized. Dr.

         Karr made it very clear to Michael that even if he performs the recommended surgery, it might not

         fix Michael's pain or the instability in his foot. Michael will likely have chronic pain, and even if

         he is able to ambulate after the next surgery, it is unlikely he will be able to be as active as he was

         prior to the inappropriate April 2012 surgery.




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               CLAIM FOR DAMAGE,·                                         INSTRUCTIONS:· Piease read carefully the lnslrucllons on the                          FORM APPROVED
                                                                         ·reverse sfde and supply lnformaUon requested on both sides oflhls                     OMBNO.
                INJURY, OR DEATH                                          form. Use 11ddlllonal sheet{s) If necessary. See reverse side for .                   1105-0008
                                                                          additional lnslrudlons.
1. Submit To Appropriate Federal Agency:                                                                 2. Name, Address of cfafmanl and cfalmanfs personal represenlaUve, If
                                                                                                         any. (See Jnslrucllons on reverse.) (Number, Street, City, State and Zfp
VA Regional Council
S75. N. i:>ennsylvcirila                                                                                 Code)                :f F3 £f<-lj          1JJ.    K177 '-'n
lndlanapolfs; IN:46204"                                                                                       ·                    l 7/.J-S-       hf<>t.A        \'20
                                                                                                                               ·Nu.1\.-'TlitL /01.A.Jrv .'.I'/?/, '-/{;74i?

3. TYPE OF EMPLOYMENT                    4. DATE OF BIRTH                  5. MARITAL STATUS             6. DATE AND DAY OF ACCIDENT                            7. TIME (AM. OR P.M.).
     a MILITARY fCMLIAN. ·                 J-?.7--4'q                              /)/I

8. Basis of Clafm (Slate rn detall       lhe
                                    known facts and clrcuinstances attending the damage, Injury, or death, ldenHfyfng persons and property Involved, the
   place of occurrence and f!te cause thereof. Use adillUonal pages If necessary.).

      $    t   c     ,1.J   TTIJCt-1 t    I)        f~ft::~c;.
                                                               - !IS)                        C I "It r,/\



9.                                                                                        PROPERTY DAMAGE

NAME AND ADDRESS OF OWNER, IF OTHER THAN Cl.AJMANT (Number, Street, City, Sia~. end Zip Code).



BRIEFLY DESCRIBE THE PROPERlY, NATURE AND EXTENT OF DAMAGE AND THE LOCATION WHERE PROPERTY MAY BE INSPECTED.
(See lnstruclfons on raverse side.)                                          ·




10.                                                                        .PERSqNAL INJURYJWROHGFUl. DEAlH

STATE NATURE AND EXTENT OF E'ACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER                                        THAN CLAIMANT, STATE NAME QF
INJURED PERSON OR DECEDENT.
                                  .                              •
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               . f" /2 ii       frT if/de-1..J £ ()                   (a f fte.;;.             .                              ' .                          ,.


 11.                                                                                          WllNESSES

                                NAME                                                                     ADDRESS (Number, Street, Cff¥, Stale, ~d Zip Code)




 12. (See Instructions en reversa.)                                                AMOUNT OF CLAIM (in do!lara)

 12a. PROPERTY DAMAGE                    12b. PERSONAL INJURY                                      12c. WRONGFUL DEATH                     12d. TOTAL{F!JBure to speeify may cause
                                                                                                                                                fcrfeHure of your lfghls.)
                                                I       1)- 'SD        i) (°)(>. C•.:;.
                                                    I             I         '                                                                 I,    ~,)G)~ Ol:i'l ~ CJ"'b

I CERllFYTHATTHEAMOUNTOF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BYlHS INCIDENT ABOVE AND AGREE TO ACCEPT~DAMOUNTIN
FULL SATISFACTION AND FINAL SETllEMENTOF lHJS CLAIM

 13a. SIGNATURE OF. CLAIMANT (See lnslnld!ons on 1&Wrae sfde.)

       ~V\..-1. vJ                             )4 ,;       A   A -~
                                                                                                         13b. Phone number of person signing fcnn
                                                                                                                                                                  .,_ s -l'b
                                                                                                                                                                14. DAlE OF SIGNATURE



       0                      )cMl. PENALTY FOR PRESENTING
                                      FRAUDULENT CLAIM
                                                                                                                  . CRIMINAL PENALlY FOR PRESENltHG FRAUDULENT
                                                                                                                         Cl.AIM OR MAKING FALSE STATEMENTS

 The clalmmrt Is Hable lo the Unl!ed Slalss Government fer the civil penalty cf not less then            F"me of not more than $10,000 or imprlsorunentfor not mom   UtaO 5 yeern or both.
 ss,ooo and not more than $10,000, plus 3 times the amount of damages suslalned                          (See 18 U.S.C. 287, 1001.)
 by Ille Govemmenl (See 31 U.S.C. 3729.)

95-109                                                                                    NSN 7540--00-G34-4048                                    STANDARD FORM 95
                                                                                                                                                   PRESCRIBED BY DEPT. OF JUSTICE
                                                                                                                                                   2BCFR 14-c2
                                                                                   Page 61 of 103                                                                EXHIBIT 21
           ,1.

····.       "
            USDC IN/ND case 1:19-cv-00013-TLS-SLC document 1-1 filed 01/11/19 page 62 of 103
                                                                                                                 '
                                                                                                  INSURANCE COVERAGE

        In onlerthatsubrogatfon dalms rilay be adjudlcatsd, it Is essenl,lal lilat the clalment pJOvlda the follawing lnformatlo·n regarding the Insurance cowrage of his vehlcle or property.

        15. Do.you cany accident Insurance? a Yes              If yes, glve name and addn;iss of Insurance company (Number, Street, City, Slate, end Zip Coda) and palfcy number.                                       /Na




        1B. Haw you filed a clalm on your Insurance carrier In Utls Insfence, and if so, ls Hfull coverage or dedudlble?                   0Yes                ...,a       17. If deductible, state amou!!f.




        10. JI a claim has been filed with your earner, whet action has your Insurer taken or p!Oposed lo lake with reference" lo your claim? (Ills necessary that you ascerlaln thBSB fads.)



                                                                                                                                                      :   -~   '   .                     ,   ..   ·.·;    ..   -:-,,,




        19. Do you cany publlc rrability end property damage Insurance?· lil>Yas               lfyas, give narite and address of Insurance canfer (Number, Street. Clly, Slate, and Zip Code).                          o.No

                                                      'S/r"t-T "ii   f fl~. fa"'-!. j/.. 41 ;:; I tf/ 5_ Ci> .
                                                            .:J. s- sV JV 014w 40 r;:                             5>,
                                                                                               r;;-e.,v' /'1 o ·r ,
                                                           L.u £S {      l._,.g Fft/ {;:,TT~ TM               Lr 7                                        iJDb - / '3)t---
                                                                                                        INSTRUCTIONS.

        Claims p{esented under the Federal Tort Cfahris Act should be submitted dlrectiy to the "appropriate Fet.Jeral agencyn whose
        employee{s) was Involved In the Incident. lfthe lncldentlnvolves more than one claimant, each clafmantshould submit a separate claim
        fonn.                                                                                                                                  ·                                     ·

                                                                       CompletD all Items - Insert tha word NONE where appllcabla.
        A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAC                                             DAPJl.AGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL
        AGENCY RECEIVES FROMACLAIMANT, HIS DULY AUTHORIZED AGENT, OR LEGAL                                        INJURY, OR DEAlH AUEGEQ TO HAVE OCCURRED BY REASON OF WE INCIDENT.
        REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN                                             THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERALAGENCYWITHIN
        NQTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAIM FOR MONEY                                             TWO YEARS AFTER THE CLAIM ACCRUES.            .

        Failure to completely execute fhla funn or to 11upply the requested material within                        The amount daimed should be subalantlaled by eompetant evidence as follows:
        two yaansfromthe data the claimaccrued may renderyo.urcla!m Invalid. A claim Is
        deemlid presented when It Is reealved by the appropriate agency, not when It Is                              (a) In support of the delm for personal Injury or death, the dalmant should submit a wri!!an
        malled.                ·                                             ,                                     report by the attending physlc!en, showing the nafure end extent of lnjuiy, the nature and
                                                                                                                   wctent of frealment, !he degree of permanent disability, if any, the prognosis, end !he period
                                                                                                                   of hospilellzallan, or rncapaclla!lon, attaching ltimized bUls lilf medical, hospital, or burial
         If lns!rudlan ls needed In completing lhls fann. the agency !Isled ln item #1 an Iha reverse              expenses actually Incurred.            ·                         ·
         side may be contacted. Complete J'!!Oulallcns perlabilng to dalms asserted under Iha
        Federal Tart Claims Ad can be found In Tiiie 28, Code of Fedeial Reguleflons, Part 14.
        Many agencies haw publlshed supplemenllng iegulat!ans. II more than one agency ls                           (ll) In support of clalms for damage to property, wlllch has been or can be economically
        lnvc!Wd, please slate each agency.                                                           ·            repalmd, lhe dalmentshould submit at least two Itemized signed slataments areslimatJ?s by
                                                                                                                  reliable, disinterested concerns, or,. if payment has been made, Iha Itemized signed receipts
                                       0
                                                                                                                  IMdenclng payment
        The daim may be filed by a duly authorlzed agent or other legal represenlaliva, provided
        evidence sallafac!giy lo Iha Government Is submlttad with the clalm eslabflShlng express
        autlioril'f lo act for the clalmanl A clalm presen!ed by an agent or legal reprasenlafive                   . (c) In support of claims for damage ta property which is not eamomlcally repairable, or If
        must be presented In the name of!he clalman!. if the daim Is signed by the agent or legal                  the p!Operty ls lost orde!!lroyed, the cla!mantshould submitsta!emen!s as lD Iha original cost
        rapresenla!iva, it must shew Iha !ille or legal capacity of the person slgnlng and be                      of Iha prcperty, Iha data cfpurchasa, end the value af!he p!Opell'/, bclh before ahd a!!Erthe
        a=mpanled by ov!denca of h!!lller autharil'f to present a dalm on behalf of the dal~nt                     accident Such slatemenls should be by dlsliltarasled competent peraons, preferably
        as sgen~ executor, adminlstramr, parent, GtJartlfan er other represanlative.                               reputable dealers or officials famlllar wilh the type of property damaged, or by two er moro
                                                                                                                   competiliva b!dders. and should be csni!led es being just and corroct.

        If cfalmantlntends !o fi!efor~fh personal Injury and prcperlydamage, the amountforeach
        must~ shown in l!em #12 ~this form. •                                ·                                        (cf) Failure io apecliy a sum_ certain will render your claim lnvaUd and may rasult In
                                                                                                                   flirfeltnre of your right!.

                                                                                          PRIVACY ACT NOTICE
        Thls Na!lce Is pl'Olllded in accordance wr!h the Privacy Ad, 5 U.S.C. 552a{e)(3), and      B. Prfncipal Purposs: The lnrormation requested !s b be used In BValua!ing clalms.
        concenis tha !nfarmalion requssled In the letter lo which this Nelles ls atlached.         c. Routine Use: See ihe Notices of Systems or Records fer the agency lo wham you
           A. Aulholily. The requested infarrnllflan Is scL'ci!ed purauant to one or mare cf          are submitting this form ft'r t'!!= ~±O!!!!!f"Jn. _ ·
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              20 C.F.R. Part 14.                                                                      lhe requested lnfcrma!lcn crta e=ta !lie form may render your dafm "Invalid".

                                                                                         PAPERWORK REDUCTION ACT NOTICE

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                                       Jerry Wayne Kittle

 This is to file for~ Title 38 U.S. C. 1151 Claim   My nightmare began in August of 2012 when I
 met Dr. Brad Hammersly; however, here is the background leading up to that situation.



 December 2009: My wife and I were on a trip to Arkansas visiting friends .

. I started having pains in my left side that did not go away but kept increasing. Our friend's
 brother- in- law offered to take me to the Arkansas Veteran's Affairs (VA) Hospital; however, I
 was not enrolled. My work's group insurance did not cover me outside of Indiana. I drove
 home with pain escalating in my side, went straight to my doctor's office, and was sent to
 Parkview Memorial Hospital's emergency room. Before the sun went down, I had an emergency
 appendectomy.



 January 2010: I signed up for VA Benefits.

 Shortly after signing up for VA benefits, my employer changed my employment status from a
 full time employee with full benefits to an independent contractor with no benefits. I went to
 the VA for routine physicals, shots and care in 2010 and 2011. I began having constant, chronic
 pain in my knees, hips and ankles. In January 2012, I was told that the nearest place where I
 could get cortisone shots to reduce the pain in these three areas was at the VA Hospital in
 Indianapolis.



 January 23, 2012: Cortisone shots began.

 I went to the VA Hospital in Indianapolis expecting to get cortisone shots in my knees, hips and
 ankles. I was told I could only get two shots at a time. I received a shot in .my left knee and one
 in my right ankle. We continued this course of treatment until August 2012.



 August 2012: I was told that I needed both knees replaced.

 The Indianapolis VA doctor could not tell me what type of knee prosthetic would be installed or
 which doctor would install it. I came back to Fort Wayne and talked to my VA family doctor, Dr.
 Lainez, about the situation and which of the three areas should be addressed first. Deciding on
 the ankles, she referred me to the new VA podiatrist, Dr. Brad Hammersly.

  Dr. Hammersly took x-rays of my feet and ankles. He also looked at my previous x-rays. I told
  him I was doing fine with the shots. He told me to continue that treatment.




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                                     Jerry Wayne Kittle

 He said that I did not have a bone spur causing me pain; rather, I had a broken bone on the side
 of my right foot and it looked like it was an old break. He said that he could fix that quickly, put
 me in a cast for it to heal and I would be fine. He said he might need to put metal in it and
 screws to hold it in place. I agreed to have him perform the operation as soon as possible.



 October 26, 2012: Right foot bone repair surgery performed.

 Dr. Hammersly put metal on the side of the foot with four screws; however, I was in a boot and
 no cast when I woke up.

 While the side of the foot was now surgically repaired, I still had a lot of pain. He x-rayed the
 ankle and said that there was no cartilage left in the ankle. There was also one screw coming
 out of the plate, however, the foot was healing nicely.



 April 17. 2013: The first ankle surgery occurred.

 Dr. Hammersly said that while he was in there, he would remove the screw that was coming
 out of the break repair as well as all of the screws and the metal plate. He did remove most of
 the screws and the plate.

 To replace the ankle cartilage with cadaver cartilage, he would have to cut out a piece of pie
 shaped bone and scrape out the remaining cartilage then put the "new" cadaver cartilage in. He
 also put in two new screws to hold the piece of bone in place. He said that I would have a cast
 on until the ankle healed. When I came out of surgery I had a boot and no cast again.

 I was told that I would be fine as long as I used the knee walker and the crutches and did not
 put any weight on that foot but that I could use the foot slightly to balance myself. I followed
 his advice to the letter.

 When I went in for a checkup and x-ray, there were two more broken screws. I would need
 another surgery. Dr. Hammersly said he would put longer screws in this time.



 November 28, 2014: The second ankle surgery was performed.

 Following surgery, I woke up with a boot and no cast. The longer screws broke again. I don't
 know why the screws broke. There are still pieces of broken screws in my ankle that no doctor
 has been able to remove. I also know that I did not put weight on that ankle and I used the
 knee walker and the crutches faithfully. I followed all of Dr. Hammersly's instructions to the
 letter. I was raised by a military father who put the fear of God in me and I always follow
 instructions of those in charge.


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                                     Jerry Wayne Kittle


 April 28, 2014: The third ankle surgery occurred.

 Before the surgery, my wife overheard Dr. Hammersly's supervisor telling him to put a cast on
 this time. Six weeks later, he took the cast off to x-ray the ankle and I expected him to put
 another one back on since the ankle was not healed; however, he did not. He put it in a boot.
 When I went back two weeks later, the screws were broken again.

 By now I had worn out the pads on my knee walker. The VA said it could not get me new pads
 so I was forced to turn the old pads around. I believe that I never put weight on my ankle; I kept
 it on the knee walker or used the crutches.

 By now you would think that Dr. Hammersly would have realized that it needed to be kept in a
 cast until it was totally healed. It was like he was a stubborn little boy determined not to use a
 cast.

 At the point where the screws had broken again, he threw up his hands and referred me to Dr.
 Jonathon Norton who Dr. Hammersly said he went to school with. Dr. Hammersly said that Dr.
 Norton could fix this because he was a better surgeon.



 May 1, 2014. First appointment with Dr. Norton.

 Dr. Norton x-rayed my ankle and told me the only thing he could do was to fuse my ankle. He
 would put me in a handmade leather Arizona boot to stabilize the ankle until the upcoming
 surgery. During surgery, he would go in and remove the broken screws and put in new screws
 so that my ankle would no longer move. I told him I wanted to wait until winter because I was
 fed up with hospitals and surgeries.



 January 7, 2015: Ankle fusion surgery performed.

 The surgery was performed at Lutheran Hospital in Fort Wayne and lasted five hours instead of
 the usual three. Dr. Norton kept trying to remove the broken screws but was only able to
 remove one. One screw was put in to fuse the ankle. I did wake up with a cast on my ankle.

 The cast was replaced at each doctor appointment after the ankle was x-rayed. I had casts on
 for six months before having the last one removed. The doctor then put my ankle in a new
 Arizona boot which i was supposed to wear only until October 2015. To this date, I still wear it
 because it helps with the pain in my ankle. It gives me security against turning my ankle_____ _
 because Dr. Norton told me that if I turn my ankle severely, I will have to have my foot
 amputated.



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                                      Jerry Wayne Kittle


 March 13, 2018: Institutional Disclosure of adverse event.

 Now I am in shock. There were more errors and negligence than we had ever realized. I have so
 much pain every day and Dr. Becker has done an MRI of my foot and ankle and determined that
 there is nothing she can do. I am only 69 years old and I am capable in every other way but I
 have to live with this burning ankle every day for the rest of my life. I can't work and help my
 wife pay bills. I can't rototill my garden or work on my car. The list of things I can't do is longer
 than the list of things I can do.

 I live with severe pain in my ankle every day and probably will for the rest of my life, especially
 when the weather changes. It is worse if I am on my feet for more than a couple of hours.

 Dr. Hammersly promised he would fix my foot and ankle and have me back to work in six
 months. Due to his incompetence, I am crippled for the rest of my life.

 I understand from attending other medical consultations that the cartilage was never missing in
 mv ankle. Previous x-rays show that my cartilage was fine. I may have had a pulled muscle or
 torn ligament but I will never know because Dr. Hammersly convinced ~e the cartilage was
 gone in my ankle so he could practice replacing it and fail.

 I suffer from periods of severe depression and anger. I make life difficult for myself and my
 family. My wife and I took counseling from Dr. Bishton at the VA for about six months;
 however, he changed positions and we have not heard from another counselor to be
 scheduled. We need the counseling.

 I understand that shortly after he did my last surgery, Dr. Hammersly was sent to Marion,
 Indiana to do paperwork for the VA. A year later, he no longer worked for the VA. I pray that he
 is no longer a practicing podiatrist ruining anyone else's life.

 I feel I rightfully deserve $1,250,000 for malpractice and 100% disability going back to the first
 unnecessary ankle surgery performed on April 17, 2013.




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VA                  U.S. Department of Veterans Affairs
                    Office of General Counsel
                                                                              Torts Law Group (02)
                                                                              155 Van Gordon Street, Suite 551
                                                                              l,.akewood, CO 80228

                                                                              Telephone: (303) 914-5820
                                                                              Fax: (202) 495-6426

      Certified Mail                                                          Jn Reply Refer To: GCL 369708
      August 7, 2018


      Vincent J. Colombini
      880 Chalet Drive, #203
      Berne, IN 46711

              RE:     Administrative Tort Claim

      Dear Mr. Colombini:

      The Department of Veterans Affairs 0/A) has thoroughly investigated the facts and
      circumstances_ surrounding the above referenced administrative tort claim you have filed
      against the Department of Veterans Affairs pertaining to the surgery performed at the Fort
      Wayne VA Medical Center on March 23, 2012. Our adjudication of the claim included a
      review of your medical records and information submitted in support of the claim.

      Based on our investigation, it appears your alleged harm occurred on March 23, 2012. A tort
      claim is barred unless it is presented within two years after the claim accrues, as provided in
      section 2401(b), title 28, United States Code (U.S.C.). Accordingly, this claim is hereby
      denied.

      If you are dissatisfied with this decision, you may file suit directly under the FTCA, 28 U.S.C.
      §§ 1346(b) and 2671-2680. The FTCA provides that when an agency denies an
      administrative tort claim, the claimant may seek judicial relief in a Federal district court. The
      claimant must initiate the suit within six months of the mailing of this notice as shown by the
      date of this denial (28 U.S.C. § 2401 (b)). In any lawsuit, the proper party defendant iS-the
      United States, not the Department of Veterans Affairs.

       Please note that FTCA claims are governed by a combination of Federal and state
       laws. Some state laws may limit or bar a claim or law suit.. VA attorneys ha.ndling FTCA
       claims work for', the Federal government, and cannot provide ,advice regarding the impact of
     ··state laws"or0 ~tate-filing·requirements:--°-''-· ·· · _______ ,       ·--~ -· --- - ------- ---~~-----~---~~--




      Cynthia Hernandez
      Deputy· Chief Counsel




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VA           U.S. 1:19-cv-00013-TLS-SLC
 USDC IN/ND case
                   Office of General Counsel
                                             document 1-1 filed· Torts
                  Department of Veterans Affairs                       Law Group (02)
                                                                  01/11/19    page 89 of 103
                                                                 155 Van Gordon Street. Suite 55 I
                                                                       Lakewood. CO 80228

                                                                       Telephone: (303) 914-5820
                                                                       Fax: (202) 495-6426

                                                                       In Reply Refer To: GCL 368754
      Certified Mail

      August 1, 2018

      Billy McGuire
      907 Villa Terrace
      Kendallville, IN 46755

             RE:    Administrative Tort Claim .

      Dear Mr~ McGuire:

       The Department of Veterans Affairs (VA) has thoroughly investigated the facts and
       circumstances surrounding the above referenced administrative tort claim you have
       filed against the. Department of Veterans Affairs pertaining to the surgery performed at
       the Fort Wayne VA Medical Center on October 12, 2012. Our adjudication of the
     · daim.Tnciuded a review of your medical records, information submitted in support of
       the claim, and a review of the claim by a medical reviewer in a different part of the
       country.

      The Federal Tort Claims Act (FTCA), 28 .U.S.C. §§ 1346(b) and 2671-2680, under
      which you filed this claim, provides for monetary compensation when a Government
      employee, acting within the scope. of employment, injures another by a negligenf or
      wrongful act or omission. Medical negligence means there. was a breach In the
      standard of care and that breach proximately caused an injury. The standard of care
      is the level at which similarly qualified medical professionals would have managed the
      care under the same or· similar circumstances. Our review concluded that there was
      no negligent or wrongful act. on the part of an employee of the Department of Veterans
      Affairs (VA), acting within the scope of his or her employment.

      Additionally, ·a tort claim is barred unless it is presented within two years after the
      claim accrues, as provided in section 2401 (b), title 28, United States Code (U.S.C.).
      Accordingly, this claim is hereby denie~.

      If you are dissatisfied with this decision, you may file suit directly under the FTCA, 28
      U.S.C. §§ 1346(b) and 2671-2680. The FTCA provides thatwhen an agency denies
      an administrative 'tort claim, the claimant may seek judicial relief in a Federat district
      court. The claimant must initiate the suit within six months of the ·mailing of this notice
      as shown by the date of this denial (28 U.S.C. § 2401 (b)). In any lawsuit, the proper
      party defendant is the United States, not the Department of Veterans Affairs.

      Please note that FTCA claims are gov~rned by a combination of Federal and state
      laws. Some state laws may limit or bar a claim or law suit. VA attorneys handling




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USDC IN/ND case 1:19-cv-00013-TLS-SLC document 1-1 filed 01/11/19 page 90 of 103



  FTCA claims work for the Federal government, and cannot provide advice regarding
  the impact of state laws or state filing requirements.                      ·

  Sincerely,




  Cynthia Hernandez
  Deputy Chief Counsel




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 USDC
  ,.  IN/ND case 1:19-cv-00013-TLS-SLC document 1-1 filed 01/11/19 page 91 of 103
                                                                           Torts Law Group (02)

VAi                U.S. Department of Veterans Affairs
                   Office of General Counsel
                                                                           155 Van Gordon Street, Suite 551
                                                                           Lakewood, CO 80228

                                                                           Telephone: (303) 914-5820
      Certified Mail·                                                      Fax: (202) 495-6426

      July 30, 2018                                                        In Reply Refer To: GCL 369721



      Martin Heifner
      1509 County Road 151
      Grover Hill, OH 45849

             RE:      Administrative Tort Claim

      Dear Mr. Heifner:

     The Department of .Veterans Affairs \VA) has thoroughly investigated the facts and
     circumstances surrounding the above referenced administrative tort claim you ·have filed
     against the Department of Veterans Affairs regarding podiatric surgeries performed at the Fort
     Wayne VA Medical Center in June 2014-and September 2015. Our adjudication of the claim
     included a review of your VA medical records and information submitted in support of the
     claim.                                                                                     ·

     !3ased on our investigation, it appears your alleged harm occurred as early as June 2014 and
     no later than September 2015. A tort claim is barred unless it is presented within two years
     after the claim accrues, as provided in section 2401 (b), title 28, United States Code (U:s.C.).
     Accordingly, this claim is hereby denied.

     If you are dissatisfied with this decision, you may file suit directly under the FTCA, 28 U.S.C.
     §§ 1346(b) and 2671-2680.           The FTCA prqvides that when an agency denies an
     administrative tort claim, the claimant may seek judicial relief in a Federal district court. The
     claimant must initiate the suit within six months of the mailing of this notice as shown by the
     date of this denial (28 U.S.C. § 2401 (b)). In any lawsuit, the proper party defendant is the
     United States, not the Department of Veterans Affairs.

     Please note that FTCA claims are governed by a combination of Federal and state
     laws. Some state laws may limit or bar a claim or law suit. VA a_ttorneys handling FTCA
     claims work for the Federal government, and cannot provide advice regarding the impact of
     state laws or state filing requirements.


     Sincerely,




     Cynthia Hernandez
     Deputy Chief Counsel




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VA                 U.S. Department of Veterans Affairs
                   Office of General Counsel
                                                                              Torts Law Group (02)
                                                                              155 Van Gordon Street, Suite 551
                                                                             ·Lakewood, CO 80228

                                                                              Telephone: (303) 914-581Q
      Certified Mail                                                          Fax: (303)914-5849

      September 25, 2018                                                      In Reply Refer To: GCL 371609


      Robert J. Swisher
      P.O. Box 162
      Uniondale, IN 46791

             RE:       Administrative Tort Claim

      Dear Mr. Swisher:

 · ·-- -The Department-of Veterc;ms Affairs (VAfh-as-Thoroughlyitlvestigated the facts and___ ·-----             -·-
      circumstances surro1,mding the above referenced administrative tort claim you have filed
      against the Department of Veterans Affairs re~arding a podiatric surgery performed at the Fort
      Wayne VA Medical Center on January 8, 2016. Our adjudication of the claim included a
      review of your VA medical records, information submitted in support of the claim, and a
      reviewer by a provider in a different part of the country.

      Based on our investigation, it appears your alleged harm occurred on January 8, 2016. You
      were informed that additional surgery may be required on your right ankle on March 19, 2017.
      A tort claim is barred unless it is presented within two years after the claim accrues, as
      provide.d in section 2401 (b), title 28, United States Code (U.S.C.). Accordingly, this claim is
      hereby denied.

      If you are dissatisfied with this decision, you may file suit directly under the FTCA, 28 U.S.C.
      §§ 1346(b) and 2671-2680. The FTCA provides that when an agency denies an
      administrative tort .claim, the claimant may seek judicial relief in a Federal district court. The
      claimant must initiate the suit within six months of the mailing of this notice as shown by the
      date of this denial (28 U.S.C. § 2401 (b)). In any lawsuit, the proper party defendant is the
      United States, not the Department of Veterans Affairs.

      Please note that FTCA claims are governed by ·a combination of Federal and state laws. Some
      state laws may limit or bar a claim or law suit. VA attorneys handling FTCA claims work for the
      Federal government, and cannot provide advice regarding the impact of state laws or state filing
      requirements.


      Sincerely,




      Eric Waage
      Acting Deputy Chief Counsel




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VA
 USDC IN/ND case
              U.S.1:19-cv-00013-TLS-SLC
                   Department of Veterans Affairs
             Office of General Counsel
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                                                                            page
                                                            155 Van Gordon Street, Suite 551
                                                            Lakewood, CO 80228

                                                                      Tekphone: (303) 914-5820
                                                                      Fax: (202) 495-6426

                                                                      In Hcply Refer To: GCL 371578

     Certified   Maii~


     September 27, 2018

     Derrick S. Link
     1816 Richfield Dr.
     New Haven, IN 46774

         Re:         Administrative Tort Claim

     Dear Mr. Link:

     The Department of Veterans Affairs (VA) has thoroughly investigated the facts and
     circumstances surrounding your administrative. tort claim. Our adjudication of the claim
     included a review of your medical records and a review· of the claim by a medical
     reviewer in a different part of the country.

     The Federal Tort Claims Act (FTCA), 28 U.S.C. §§ 1346(b) and 2671-2680, under
     which you filed the claim, provides for monetary compensation when a Governrnent
     employee, acting within the scope of employment, injures another by. a negligent or
     wrongful cict .or omission. · Medical negligence means there was a breach . in the
     standard of care and that breach proximately caused an injury. The standard .of care is
     the level at which similarly qualified medical professionals would have managed the
     care under the same or similar circumstances.

   Our review concluded that there was no negligent or wrongful act on the part of an
   employee of the Department of Veterans Affairs (VA) acting within the scope of
   employment that caused you compensable harm. Additionally, a tort claim is barred
   unless it is presented within two years after the claim accrues, as provided in 28 United
   States Code Section 2401 (b). You have filed your claim outside of the two year statute
  ·of limitations.

     Accordingly, for the above reasons, we deny the claim.

     If you are dissatisfied with the denial of the claim, you may file suit directly under the
     FTCA, 28 U.S.C. §§ 1346(b) and 2671-2680. The FTCA provides that when an agency
     denies an administrative tort claim, the claimant may seek judicial relief in a Federal
     district court. The claimant must initiate the suit within six months of the mailing of this
     notice as shown by the date of this denial (28 U.S.C. § 2401 (b)). In any lawsuit, the
     proper party. defendant is the United States, not the Department of Veterans Affairs.

     Please note that FTCA claims are governed by a combination of Federal and state
     laws. Some state laws may limit or bar a claim or law suit. VA attorneys handling



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USDC IN/ND case 1:19-cv-00013-TLS-SLC document 1-1 filed 01/11/19 page 94 of 103


 FTCA claims work for the Federal government, and cannot provide advice regarding the
 impact of state laws or state filing requirements.

 Sincerely,



  4c;
 Cynthia Hernandez
 Deputy Chief Counsel




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VA
 USDC IN/ND case
             U.S.1:19-cv-00013-TLS-SLC
                  Department of Veterans Affairs
                      Office of General Counsel
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                                                                         page
                                                                      155 Van _Gordon Street, Suite 551
                                                                      Lakewood, CO 80228

                                                                      Tekphoue: (303) 914-51120
                                                                      Fax: (202) 495-6426

                                                                      In Reply Refer To: GCL 371370

     Certified Mail

     September 27, 2018

     John D. Gross
     11238 Parkers Bay Drive
     Ft. Wayne, IN 46845

         Re:          Administrative Tort Claim

     Dear Mr. Gross:

     The Department of Veterans Affairs 0/A) has thoroughly investigated the 'facts and
     circumstances surrounding your administrative tort claim. Our: adjudication of the claim
     included a review of your medical records and a review of the claim by a medical
     reviewer in a different part of the country.

     The Federal Tort Claims Act (FTCA), 28 U.S.C. §§ 1346(b) and 2671-2680, under
     which you filed the claim, provides for monetary compensation when a Government
     employee, acting within the scope of employment, injures another by a negligent or
     wrongful act or 0111ission. Medical negligence means there was a breach in the
     standard.of care and that breach proximately caused an injury. The standard of care is
     th~ levei at which similarly qualified medical professionals would have managed the
     care under the same or similar circumstances.

     Our review concluded that there was no negligent or wrongful act on the part of an
     employee of the D~partment of Veterans Affairs (VA) acting within the scope of
     employment that caused you compensable harm. Additionally, a tort claim is barred
     unless it is presented within two years after the claim accrues, as provided in 28 United
     States Code Section 2401(b). You have filed your claim outside of the two-year statute
     of limitations.

     Accordingly, for the reasons above, we deny the claim.

     If you are dissatisfied with the denial of the claim, you may file suit directly under. the
     FTCA, 28 U.S.C. §§ 1346(b) and 2671-2680. The FTCA provides that when an agency
     denies an administrative tort claim, the claimant may seek judicial relief in a Federal
     district court. The claimant must initiate the suit within. six months of the mailing of this
                .

     notice as shown by the date of this denial (28 U.S.C. § 2401(b)). In any lawsuit, the
     proper party defendant is the United States, not the Department of Veterans Affairs.

     Please ·note that FTCA claims are governed by a combination of Federal and state
     laws. Some state laws may limit or bar a claim or law suit. VA attorneys handling



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 FTCA claims work for the Federal government, and cannot provide advice regarding the
 impact of state laws or state filing requirements.

 Sincerely,



 ~
 Cynthia Hernandez
 Deputy Chief Counsel




                                          2
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                 U.S. Department of Veterans Affairs                     Torts Law Group(02)
                                                                         155 Van Gordon Street, Suite 551
                 Office of General Counsel                               Lakewood,CO 80228

                                                                         Telephone:(303)914-5820
                                                                         Fax: (202)495-6426
    Certified Mail
                                                                         In Reply Refer To: GCL 377017
    November 2,2018

    Wilson Kehoe & Winingham, LLC
    Attention: W. Kent Winingham, Esq.
    2859 North Meridian Street
    Indianapoiis, IN 46208

           RE:       Administrative Tort Ciaim of Deborah Fortier

    Dear Mr. Winingham:

    The Department of Veterans Affairs (>M) has thoroughiy investigated~fhe facts and
    circumstances surrounding the above referenced administrative tort claim you have fiied on
    behalf of Deborah Fortier against the Department of Veterans Affairs pertaining to the surgery
    performed at the Fort Wayne VA Medicai Center on November 13, 2015. Our adjudication of
    the claim inciuded a review of her VA, and non-VA medical records, and information submitted
    in support of the claim.

    As you are aware, a tort claim is barred unless it is presented within two years after the claim
    accrues, as provided in section 2401(b), title 28, United States Code (U.S.C.). Ms. Fortier's
    claim accrued on November 13, 2015. Accordingly, this claim is hereby denied.

    if you are dissatisfied with this decision, you may file suit directly under the FTCA, 28 U.S.C.
    §§ 1346(b) and 2671-2680. The FTCA provides that when an agency denies an
    administrative tort claim, the claimant may seek judicial relief in a Federal district court. The
    claimant must initiate the suit within six months of the mailing of this notice as shown by the
    date of this denial (28 U.S.C. § 2401(b)). In any lawsuit, the proper party defendant is the
    United States, not the Department of Veterans Affairs,

    Please note that FTCA claims are governed by a combination of Federal and state
    laws. Some state laws may limit or bar a claim or law suit. VA attorneys handling FTCA
    claims work for the Federal government, and cannot provide advice regarding the impact of
    state laws or state filing requirements.

    Sincerely,




    Cynthia Hernandez
    Deputy Chief Counsel




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                                                                                RECEIVED NOV 0 9 2018
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VA                 U.S. Department of Veterans Affairs
                   Office of General Counsel
                                                                           Tori's Law Group (02)
                                                                           155 Van Gonion Strl!ct, Suite 551
                                                                           Lakewood, CO 80228

                                                                           T ekµhonc: (JOJ) 914-5820
                                                                           Fox: (202) 495-"426




     Certified Mai I

     November 6, 2018

     Sweeney Law Firm
     Attention : David Farnbauch , Esq.
     8109 Lima Road
     Fort Wayne, IN 46168

            RE :       Administrative Tort Claim of Michael A. Garman

     Dear Mr. Farnbauch :

     The Department of Veterans Affairs (VA) has thoroughly investigated the facts and
     circumstances surrounding the above referenced administrative tort claim you have filed on
     behalf of Michael A. Garman against the Department of Veterans Affairs regard ing podiatric
     surgeries performed at the Fort Wayne VA Medical Center on April 13, 2012 and June 12,
     2015. Our adjudication of the claim included a review of his VA medical records and
     information submitted in support of the claim .

     Based on our investigation, it appears the alleged harm occurred no later than June 12, 2015.
     A tort claim is barred unless it is presented within two years after the claim accrues , as
     provided in section 2401(b), title 28, United States Code (U .S.C.). Accordingly, this claim is
     hereby denied .

     If you are dissatisfied with this decision, you may file suit directly under the FTCA, 28 U.S.C.
     §§ 1346(b) and 2671-2680.           The FTCA provides that when an agency denies an
     administrative tort claim, the claimant may seek judicial relief in a Federal district court. The
     claimant must initiate the suit within six months of the mailing of this notice as shown by the
     date of this denial (28 U.S.C. § 2401 (b)). In any lawsuit, the proper party defendant is the
     United States, not the Department of Veterans Affairs.

     Please note that FTCA claims are governed by a combination of Federal and state
     laws. Some state laws may limit or bar a claim or law suit. VA attorneys handling FTCA
     claims work for the Federal government, and cannot provide advice regarding the impact of
     state laws or state filing requirements.

     Sincerely,



     Cynthia H    ndez
     Deputy Chief Counsel




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                   U.S. Department of Veterans Affairs                    Torts Law Group (02)
                                                                          155 Van Gordon Street, Suite 551
                   Office of General Counsel                              Lakewood , CO 80228

                                                                          Telephone: (303) 914-5820
                                                                          Fax: (202) 495-6426

                                                                          In Reply Refer To: GCL 378004
     Certified Mail


     November 6, 2018

     Jerry W. Kittle
     17725 Lima Road
     Huntertown , IN 46748

             RE:      Administrative Tort Claim

     Dear Mr. Kittle :

     The Department of Veterans Affairs (VA) has thoroughly investigated the facts and
     circumstances surrounding the above referenced administrative tort claim you have filed
     against the Department of Veterans Affairs regarding podiatric surgeries performed at the Fort
     Wayne VA Medical Center on October 26, 2012, April 17, 2013, November 28, 2014, and April
     28, 2014. Our adjudication of the claim included a review of your VA medical records and
     information submitted in support of the claim .

     Based on our investigation, it appears your alleged harm occurred no later than April 28,
     2014. A tort claim is barred unless it is presented within two years after the claim accrues, as
     provided in section 2401 (b), title 28, United States Code (U.S.C.). Accordingly, this claim is
     hereby denied .

     If you are dissatisfied with this decision , you may file suit directly under the FTCA, 28 U.S.C.
     §§ 1346(b) and 2671-2680.           The FTCA provides that when an agency denies an
     administrative tort claim, the claimant may seek judicial relief in a Federal district court. The
     claimant must initiate the suit within six months of the mailing of this notice as shown by the
     date of this denial (28 U.S.C. § 2401 (b)). In any lawsuit, the proper party defendant is the
     United States, not the Department of Veterans Affairs.

     Please note that FTCA claims are governed by a combination of Federal and state
     laws. Some state laws may limit or bar a claim or law suit. VA attorneys handling FTCA
     claims work for the Federal government, and cannot provide advice regarding the impact of
     state laws or state filing requirements .

     Sincerely,




     Cynthia Hernandez
     Deputy Chief Counsel




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